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Attomey for Plaintii`f`s

KA.D., a minor_. by her mother,
KY.D., as her next friend;
KY.D.; and B.D.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

KA.D., a minor, by her mother. KY.D., as her
next friend; KY.D.; and B.D.;

Civil No. 08-cv-00622-W (POR)

NOTICE OF MOTION AND MOT|ON FOR
PARTIAL REVERSAL OF OAH
DECISION

Plaintiffs,

vs.
Hearing Date: June 29, 2009
NO ORAL ARGUMENT
pursuant to Local Rule 7. l (d)( l)

SOLANA BEACH SCHOOL DISTRlCT.

Defendant.

 

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SOLANA BEACH SCHOOL DISTRICT
Counterclaimant,
vs.

KA.D.. a minor. by her mother, KY.D.. as her
next friend: KY.D.; and B.D.;

Counter Defendants.

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Plaintif`fs and Countcr Def`endants KA..D., by her guardian ad litem K‘(.D.. KY.D. and B.D.
hereby move this Court for an order reversing portions of a decision by the Calif`ornia Ol`f`lce ol`
Administrative l~learings which: l) Failed to identify unlawful predetermination in the formulation
of KA.`s Individualized Education Program for the 2007-08 school year; 2) Failed to order SBSD

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NOT|CE OF MOT|ON AND MOTlON FOR PART|AL REVERSAL OF OAH DECISION

 

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to fund to any extent an Independent Educational Evaluation by Dr. Caroline Bailey which they
obtained for purposes of educational planning and being able to prove their case in the underlying
administrative action; 3) Forced KA.’s parents to absorb the costs associated with keeping her
preschool inclusion program going during the period between OAH’s order and the time, 30 days
later. when it took effect; and 4) Denied compensation for KA.’s mother’s work as a behavioral
therapist in keeping KA.’s in-home program in operation during a period in which the District

denied funding for that program.

Respectfully submitted,

DATED: 27 April 2009 /S/MAUREEN GRAVES. ESO.
Maureen Graves, Esq.
Attorney for Plaintiffs
KA.D., a minor. by her mother, KY.D., as her next f riend;
KY.D.; and B.D.

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NOT|CE OF MOTlON AND MOTION FOR PART|AL REVERSAL OF OAH DEClSlON

 

 

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KY.D., as her next friend;
g KV.D.; and B.D.
9 UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNlA
10

KA.D., a minor, by her mother, KY.D., as her
11 next friend; KY.D.; and B.D.;

Civil No. 08-cv-00622-W (POR)

PLAINTIFFS’ REQUEST 'I`HAT

12 Plaintiffs, ADMINISTRATIVE DECISION BE IN
13 PART SUSTA|NED AND IN PART
14 vs. REVERSED

15 SOLANA BEACH SCHOOL DISTRICT, Hearing Date: June 29, 2009

NO ORAL ARGUMENT
pursuant to Local Rule 7.l(d)(l)

16 Defendant.
17 soLANA BEACH sCHooL DISTR!CT
Counterclaimant,

VS.

21 KA.D.. a minor, by her mother. KY.D.. as her
next friend; KY.D.; and B.D.;

Counter Defendants.

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PLAlNT|FFS' REQUEST Tl-lAT DEClSlON BE lN PART SUSTA|NED AND lN PART REVERSED

 

 

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KY.D. and B.D. bring this action on behalf of their six-year-old daughter KA.D., who has

autism and a vision impairment. both of which have improved dramatically with educational and

therapeutic services. They ask that a decision by the Offiee of Administrative Hearings (OAH)

regarding the 2007-08 school year be upheld in its essential aspects and reversed with respect to

several relatively minor but significant issues. (The decision is attached hereto as Exh. A.)
FACTUAL BACKGROUND

KA. was diagnosed with autism in June 2005, shortly after her second birthday. Her
presentation was severe: no functional language, little eye contact, and serious behavior problems
including aggression, self-injury and stereotypical movement pattems. Although KA. had received
early and perceptive medical referrals starting in April 2005, the San Diego Regional Center
(SDRC) took far longer than the law allows to begin Early Start services. In August 2005, Intemet
research led KY.D., KA.’s mother, to the Brent Woodall Foundation, set up by the widow of a
college friend who had been killed on September 11. A few days later, KA. and her mother were in
a hotel room in Dallas working with Tracy Woodall, who began using principles from behavioral
psychology to reduce KA.’s excess behaviors and build a repertoire of positive “behaviors” such as
playing and talking. KA. quickly learned to request items by with pictures and said her first
functional word (“Cheetos”), while KY. started learning to provide, and advocate for, the services
her daughter needed. Shortly after their retum, SDRC finally sent in Coyne & Associates (Coyne),
an agency which also contracts with school districts, to provide similar services, called applied
behavior analysis (ABA) or behavior intervention, albeit with a small fraction of the intensity that
research indicated KA.needed, ensuring that KY.’s role would remain central.

By KA.’s third birthday, when educational duties shifted from SDRC to the Solana Beach
School District (SBSD), both she and her family had come a long way. KA.’s language had
advanced from profoundly to moderater delayed. She had learned games and enjoyed engaging
with adults and her sister. KY.D. had become a skillful teacher and “generalizer,” and a resource
for similarly situated parents. The family had figured out how to access Tri-Care’s evolving autism
benefits, and after a slow and frustrating start. SDRC was on board for long-term support. Unlike

many families, KA.’s did not have to rely entirely on SBSD. But there were services that were
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squarely within the District’s area of responsibility, and outside the realm of any other entity.
Though KA. still needed l:l instruction and play dates, she was also ready for a preschool where
she could spend time regularly with children capable of modeling, and joining in, language and
play.

Unfortunately, at KA.’s initial Individualized Education Program (IEP) meetings, SBSD
refused to educate KA. alongside nondisabled peers and rejected in-home ABA despite KA.’s
spectacular response, deeming programs off its own preschool campus “restrictive” even though
California’s legislature views homes as well as private preschools as suitable educational
environments for preschoolers with disabilities. CEC § 56441.4. The District instead proposed its
special day class (SDC) designed for severely handicapped three year olds, with some exposure to
typical children in the Child Development Center (CDC) (a large fee-for-service preschool/child
care program on the same site), and some 1:1 teaching in a special education classroom.

KA.’s parents tried to investigate this offer. When KA.’s father returned from lraq, he was
shown an empty classroom with clipboards sitting on a table tallying students’ hitting and biting,
and denied information about staff training (V. 9, pp. 2012; 2020), while his wife’s concerns after
seeing students and teachers in action continued to be barely addressed. KA.’s parents filed for
hearing, the parties mediated, and ultimately, through a settlement agreement (the terms of which
are confidential), KA. spent her year of being three at the Hanna Fenichel Center (HFC), a
neighborhood preschool with small class sizes and a low student teacher ratio, which has secured
staff training and hired teachers with relevant experience in support of its commitment to offering
positive environments for its small minority of students with disabilities KA. received ABA
services at home and school, and came to SBSD for speech and language therapy twice a week.

By all accounts, KA. made excellent progress, and in preparing for her first annual IEP
review, her parents hoped SBSD would cooperate in letting KA. move up to the four year old
classroom (which met for 17 rather than 6 hours per week). KY.D. tried to get KA.’s IEP
completed by her annual lEP due date, March 31, so that her husband could participate in
observations before returning to lraq and so that, if worse came to worst, legal follow up could

occur before the previous year’s settlement agreement expired in August. Due to District delays,
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the IEP process finally wrapped up on June 13, 2007. with the District again offering its usual
venues: two hours in the SDC for four-year-olds; two hours being supported by adults and one or
more “peer buddies” at CDC; and two hours of “extended day” (mainly l:l ABA in a small
enclosed space, though staff might bring in peers, who might or might not have disabilities).

Though upsetting, by that point the offer was no surprise, since before KA.’s IEP team even
met to discuss placement, SBSD’s special education director, Mary Ellen Nest, had already told
KA.’s mother on the phone, in person and in the presence of witnesses that the District would be
seeking the kind of “structure” that could be offered by their SDC. Ms. Nest called KY.D. to
request that the family “agree to disagree” at the IEP level, refrain from upsetting staff, and proceed
thereafter to “informal mediation” (V. 4, pp. 1006-07).l During the two IEP meetings that
followed, staff scrambled to put together “pieces” available on their site into a plausible program.
but without ever considering how it would all fit together, and to justify the stance which Ms. Nest
had laid out. When the family responded to the District’s final offer by filing for due process,
SBSD counsel secured the family’s agreement to forego an early resolution session which had been
scheduled (V. 12, at 3035) and which is mandatory unless both sides waive it, by proposing to go
straight to mediation, and then cancelled mediation a few days before it was to occur, asking that
the case go straight to hearing (V. 12, at 3016), which it did in Oct. and Nov. 2007.

LEGAL BACKGROUND

OAI~l correctly decided the two fundamental issues: 1) that the plan of the Solana Beach
School District (SBSD) to shift KA. from HFC, even though as the ALJ noted, “[a]ll parties,
including the District’s expert consultant, gave glowing reviews of its staff and program as well as
of the excellent progress Student has made while attending that school (Exh. A, at 32 ‘ll 100),” to a
rigidly “structured” SDC in which a majority of students had disabilities, in most cases autism,

violated her right to be educated to the maximum extent appropriate alongside nondisabled peers

 

l Though she did not tell the family then what she had in mind, it appears her intention was to
continue what she said she thought had been the previous year’s settlement terms, which she claimed
to have thought was what the family was hoping for, lt was not, because with the near-tripling of
school hours, keeping SBSD’s contribution at the same level would have drastically increased the
family’s financial burdens.

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(often shortened to the “least restrictive environment” or “LRE”); and 2) that the proposed
mainstreaming “piece” at the CDC located on the same site, and the transitions surrounding that
program, were inappropriate, contradicting the recommendations even of Dr. Laura Schreibman of
UCSD, the District’s sole outside expert witness. J ust one-third of the District’s proposed
schedule_its plan to do 1 :l ABA at school rather than at home-was approved.

As for KA.’s right to be educated without unnecessary removal into special classes, there was
virtually uncontradicted evidence. Though everyone agreed she was doing well, Dr. Schreibman
and some staff thought she might do even better with SBSD’s concentration of supports on one site
(e.g. V. 1, pp. 164-66; V. 8, pp. 1804-06), and the school psychologist thought that while what she
wanted f`or KA. could happen at HFC, the District had an “obligation” to provide a “public
education program” (V. 9, pp. 21 13; 21 18; 2121-22; 2136-37). Witnesses for the District could
point to no research suggest that Dr. Schreibman’s notion of taking a step back to go forward was
necessary or would benefit KA., and almost none to counter reasonable concerns that she was likely
to lose ground socially, behaviorally and linguistically. Though staff lined up behind their
supervisor’s refusal to continue KA.’s existing program, their rationales, plans, and criteria for
letting KA. return to inclusion were contradictory. There was no effort to figure out how the
ostensible concerns could be addressed without removal from general education. Judge
Lepkowsky’s holding was notjust correct but inevitable under Sacramemo Cin Um'f. Sch. Dist. v.
Rachel Holland., 14 F.3d 1398, 1404 (9th Cir.), cert. denied, 512 U.S. 1207 (1994) and Florence
County School District Four v. Carter, 510 U.S. 7 (1993): a child making progress in general
education which fully satisfied the “appropriateness” requirements of IDEA could not be relegated
to a more restrictive setting in hopes she might do even better, and thus KA.’s parents were owed
tuition reimbursement for, and she had a right to continued support in, her general education
preschool.

Though a bit mixed, the evidence also overwhelmingly supported OAH’s second main

holding_that the District’s mainstreaming offer, and thus, its overall Monday-Thursday2 plan for

 

2 Children with IEPs do not come to the CDC or their SDCs on Fridays, though aides are
available for “extended day” serviccs. (V. 3, p. 557 l. 1 - p. 558 l. 13.)
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KA., were inappropriate in the sense of not even being calculated to yield meaningful educational
benefit.3 OAH found for the family on narrow but compelling grounds-that KA. would have been
exposed to too many children and transitions-barely or not addressing other parts of the family’s
critique of SBSD’s plan which provided powerful alternative grounds for the same outcome. For a
decisive rejection of the District’s proposal to block KA. from advancing at Hanna Fenichel from a
class of up to ten three-year-olds to a class of fourteen four-year-olds, and send her instead to cope
with approximately 42 “classmates” per day (and even more children daily and weekly, given
varying child care schedules and playground assignments and the likelihood that other children
would be incorporated during some of her ABA time), OAH did not have to look beyond Dr.
Schreibman, who unequivocally testified that CDC’s class sizes made it inappropropriate for KA.4
Though she declined to “speculate” about whether KA., like many children with autism, would
have trouble with transitions, virtually everyone that knew her gave detailed reasons to believe that
that she does, and though SBSD staff discounted concems, they did so with no real basis.

OAH conducted an eleven day hearing and admitted educational records, program plans,
meeting audiotapes and transcripts, and some research. An ALJ with specialized training had

ample opportunity to observe witness demeanor and analyze SBSD’s offering_no easy task given

 

3 The ALJ did not venture to predict whether the proposed program was inappropriate in the
sense of being likely to produce insufficient gains, stagnation or outright regression. There was
virtually no upside in the District’s gamble, and much risk. Though staff had no problem with
replacing KA.’s successful program with one that would apparently require her to transition more
than anyone else her age (V. 3, p. 553, l.l6 - p. 555, l. 20). and which would expose her to over 42
children per day and even more per week, this plan risked disaster, including tantrums in full view of
children with whom she would soon be starting “real school.” Charts describing the placement
proposed by her family and that offered by SBSD are attached as Exh. B.; the District’s plan would
be challenging for a neurotypical adult. Trying to impose it on a four year old with autism risked
turning SBSD’s insistence that KA. needed to enter its SDC track into a self-fulfilling prophecy. At
the very least. yanking KA. away from actual friends and a setting conducive to making more in
favor of an environment in which she was reasonably expected to need assigned “peer buddies”
would undo social progress and connectedness, inhibit future growth and create stigma

4 Perhaps for this reason, she gave almost no attention to testimony from the family’s
numerous, well-qualified witnesses, including Len Levin, PhD. (Coyne’s clinical director); Jessica
Komeder, BCBA (Coyne regional director); Joseph Morrow, PhD., BCBA; Sarah Hillier (HFC
director); Caroline Bailey, PhD.; Jane Whitney (SDRC educational consultant); Jennifer Bartoloni

(l-IFC teacher).
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discrepancies between what was written and what was said and among different witnesses’
accounts. Though the paper record cannot capture everything that properly informed OAH’s
decision, it strongly supports the central holdings on inclusion and appropriateness Petitioners
contend that OAH erred factually on a few less critical points, where the evidence was not as strong
or as obvious in the absence of a transcript, and as to several matters where the law is less settled.

Since each side will begin by challenging the portions of the decision which it disagrees, the
arguments presented initially on student’s behalf will relate to the relatively minor issues on which
the family did not prevail. First, OAH erred in denying any reimbursement for the Independent
Educational Evaluation (IEE) secured by KA.’s parents from Dr. Caroline Bailey.5 Second, OAH
should have held that KA.’s placement was improperly “predetermined” in that important options
were ruled out before, and outside, the spring 2007 IEP process.6 Third, OAH’s financial orders
erred; though the amount in controversy may seem modest, it would not be for all families and was
not for this one at the time, and the principles are important.7

KA.’s family requests that the pleadings below be considered in addition to the necessarily
compressed presentation at this level. The student’s arguments, which appear at V. 18, Exhs. 23 &
24, present the statutory fi‘amework, factual background, and educational concepts and programs in

controversy.8 The family requests that this Court consider how the District presented evidence and

 

5 OAH artificially distinguished between “observations” and “assessments,” and failed
adequately to compare the District’s and family’s evaluations. This thorough, careful lEE was
needed to safeguard KA’s inclusive placement and would have been even more critical had Dr.
Schreibman not repudiated SBSD’s offer.

6 OAH subtly mishandled testimony even for the few interactions considered, which were a

 

mall subset of those that should have been. While predetermination formed an altemative,
rocedural basis for a decision on which the family largely prevailed substantively, it matters
ecause a) KA.’s family should be compensated for procedural violations even if this Court agrees
ith OAH’s substantive acceptance of replacing home with school ABA; b) attomeys’ fees should
e awarded for litigating an issue too big and serious to ignore; and c) it is important for KA. and
ther students that SBSD and other districts desist from this conduct.
7 KA.’s mother’s personal efforts were not reimbursed, because of errors both as to KA.’s
ight to receive services and her mother’s right to compensation for providing them directly. Even
ore conceming, OAH’s order created out-of-pocket costs: although the ALJ ordered SBSD to
upport KA. at preschool, she gave the District 30 days to comply, which it took.
8 They explain how interventions derived from the experimental analysis of “behaviors”_all

bservable, voluntary actions_are used to teach language, social, play, self-help and other skills to
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framed legal arguments below. ln closing arguments, id. at Exhs. 22 & 25, SBSD’s counsel
overreached both as to fact59 and law.lo 'l`he District put on weak evidence, and it can be inferred
that what it chose to omit would have been even more damaging.ll Staff testified exceptionally
vaguely, evincing no effort to look up or recall relevant information. Now SBSD seeks to set aside
OAH’s main findings, presumably to avoid the attomeys’ fees and embarrassment which are the
natural consequences of making untenable offers, rejecting the ADR proceedings that nearly
always precede due process, and taking a very weak case to hearing.
I. OAH erred in failing to hold SBSD accountable for unlawful predetermination.

Judge Lepkowsky ignored powerful direct and indirect evidence of predetermination, going

so far as to find “no tangible evidence” of predeterrnination other than the fact that the parents"

 

children with autism, and to reduce undesired behaviors. They set forth notjust the strong legal right
to be educated to the maximum extent appropriate alongside nondisabled peers-a right which
trumps even claims that a specialized placement is “superior” to general education that are far more
plausible than those advanced here-but the vital practical significance of inclusion for KA.’s ability
to continue her dramatically positive trajectory. They set forth in more detail than can be done here
the downhill process which began in early 2007 and hopefully will end here and soon.

9 For instance, SBSD claimed its offer contained no additional transitions by looking at
activity shifts without regard for whether peers, adults and locations were changing. (V. 18, p.
5831.)

'0 lt proposed an extreme overreading of Schaffer v. Weast, in which parents would nearly
always lose because rather than the burden of proof functioning as a tie-breaker, programs would be
"presumed” appropriate and district witnesses accorded special deference (id. at 5819.)

ll SBSD had ample opportunity and abundant resources to put on its case, yet relied on one
outside expert, who rejected the District’s plan when it was presented in hypothetical form at
hearing. She had previously been falsely reassured that the normal class size was 12 (V. 9, p. 2195
1.15- p. 2196, l. 2; p. 2240 1. 22 - p. 2242 l. 5). This was an even more audacious twist on the claim
made to the hearing officer by special education staff to the effect that the class would include 12
students during KA.’s time there (V. 2, p. 338), a claim that was punctured by CDC staff (V. 4, 898;
904-07). 'I`he District opted not to call Dr. Erin Ring, a key witness initially listed on its disclosure
of potential experts (V. 18, p. 5965); her CV was supplied. (V.l7, pp. 5655-62.) It is reasonable to
infer that her input would not have been helpful. Erin Ring had designed the very problematic
program that the District was offering (its description is at V. 17, pp. 5595-5603). She was a Board
Certified Behavior Analyst who would have been able to answer questions regarding District ABA
practices and was presented as a consultant and as a back up supervisor if Jodie Reise was stretched
too thin. Ms. Nest referred to her as the person who would know the research basis for SBSD’s
approach. (V. 2, pp. 320-21.) She had also seen KA. in her capacity as an SDRC consultant at a
little over two years of age and set her initial Early Start services at a grossly inadequate level (V. 8,
1917-18), acting as though she did not recognize the seminal research to which KA.’s mother

alluded and warning her not to believe everything she read on the Intemet.
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PLAlNTlFFS’ REQUEST THAT DECISION BE lN PART SUSTA|NED AND lN PART REVERSED

 

 

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preferred placement was not offered. (Exh. A, at 17 11 33.) ln fact, though it is notoriously difficult
for families to prove administrators’ intent, Ms. Nest removed this difficulty by telling multiple,
credible witnesses that there would be no agreement at the IEP level, and that she hoped the family
would “agree to disagree,” not upset staff, and follow up with “infonnal mediation.” lt is hard to
imagine a more blatant or complete marginalization of the sometimes painful dialogue at the heart
of IDEA, in which parents and professionals are supposed to work together to determine “the
educational method most suitable to the child's needs,” Hendrick Hudson Central Sch. Dist. v.
Rowley, 458 U.S. 176, 207 (1982). Procedural violations that “interfere with parental participation
in the IEP formulation process undermine the very essence of the IDEA,” and warrant relief even in
the absence of substantive errors. Amanda J. v. Clark Co. Sch. Disl., 267 F.3d 877, 892 (9th Cir.
2001). A district must “conduct a meaningful meeting with the appropriate parties" and “develop a
complete and sufficiently individualized educational program.” W.G. v. Targel Range Sch. Dist.,
960 F.2d 1479, 1484-85 (9'h Cir. 1992). As in most predetermination claims, e.g. Deal v. Hamilton
Co. Bd. of Educ., 392 F.3d 840, 855-59 (6th Cir. 2005), cert. denied, 546 U.S. 936 (2005), the
problem is not that every detail was predetennined, but that key options were excluded.12 Letting
parents and those accompanying them speak freely at IEP meetings means nothing if their
arguments are brushed off and the family has already been told any movement in their direction

will need to come outside of the IEP process.l3

A. Even focusing on direct evidgce abot_it events immediately preceding the
District’s placement offer. predeterm_inatioi_\ is apparent

lt appears fairly clear that Ms. Nest approached the spring 2007 IEP process planning to deny

what she expected KA.’s parents to request: continuing the inclusive, research-based program

 

12 Though Ms. Nest had decided not to continue existing services through an IEP before
assessments even started, coming up with a concrete offer was tricky, since Dr. Schreibman had
firmly opposed the District’s sole mainstreaming option, yet shifting to an SDC until autistic
behaviors were extinguished, with inclusion to follow, was legally indefensible, and incorporating
HFC, as Dr. Schreibman preferred, was unpalatable.

13 Parenls v. Modesto City Schools, OAH Case Nos. 20090300737 & 2008040702 (2008)
(9/12/08), at 9-10 (improper for staff to keep changing the subject back to their own program and
fefuse to consider parents’ request except as part of extra-IEP process involving regional center).

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PLAlNTlFFS' REQUEST THAT DEClSlON BE lN PART SUSTAlNED AND lN PART REVERSED

 

 

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which had brought KA. from severe disability to a far milder level of impairment Around
February, though SBSD staff had only seen KA. in speech and language therapy, where as her
therapist eventually conceded, she had made “fantastic progress” (V. 8, pp. 1761-72), Ms. Nest
brought in Dr. Schreibman, who had observed KA. as a potential expert while the previous
summer’s due process case was pending, asking her to take another look at KA. and make
recommendations Dr. Schreibman, a firm, consistent witness, credibly testified that Ms. Nest told
her at the outset that there was a “disagreement.” (V. 9, p. 2175 l. 15 - p. 2176, 1. 9.) Though Ms.
Nest called it a “consult,” her testimony was full of vague statements, memory lapses and self-
corrections. Dr. Schreibman observed KA. at HFC, though she did not look at the next class up,
and visited the District’s options for the next year_CDC and the SDC for four-year-olds. She was
not asked to and did not see KA. at home. Given how very well KA. was doing, Dr. Schreibman’s
goal was to eliminate autistic behaviors that might someday become stigmatizing, which she tought
it was most realistic to attempt in an SDC. Once this was achieved, she believed, KA. would be
ready for inclusion in a small preschool program, albeit she Was “nowhere near” ready for what she
correctly understood CDC to feature: classes of 24 students. (V. 9, pp. 2303-04; V. 12, pp. 3247-
48.)

What followed is barely and immaterially disputed.'4 Aiier getting Dr. Schreibman’s letter,
but before the IEP team gathered to discuss assessment findings and placement, Ms. Nest told
KY.D. that SBSD’s “team” would propose more “structure.”'$ lt is unlikely that Ms. Nest was

merely “channeling” suggestions by others that KA. might do even better outside of general

 

'4 This information was set out at greater length in prehearing pleadings afier the District
tried to put to rest predetermination claims in the student’s July 10, 2007 due process filing by
asserting they involved privileged settlement discussions in April, May and June to which student’s
counsel was improperly referring (V. 18, pp. 5919-5939; 5950; 5959.) Superintendent Leslie
Fausset did not respond to Ms. Doyle’s contemporaneous protest detailing Ms. Nest’s
communications with her (AR, V. 12, at 3179-81), nor did staff contradict it in any essential respects
at hearing

'° Though at the time Ms. Nest told KY.D. that she had not yet talked to staff, and at hearing
she said she was not sure whether she had done so (V. l, p. 216) she did not present this merely as
her personal opinion-as was Judge Lepkowsky’s interpretation-but as what would be happening
at KA.’s IEP meeting (V. l, p. 211).

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PLAlNTlFFS’ REQUEST THAT DEClSlON BE lN PART SUSTAlNED AND lN PART REVERSED

 

 

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education, and in any case this would be no excuse."’ Ms. Nest did allude to an extra-IEP route for
keeping KA. at l-lFC, but its first step_curtailing family input during the IEP process-_would have
been highly prejudicial if “informal mediation” did not suffice. Ms. Nest’s comments troubled not
only KA.’s mother but seasoned special education professionals; when they gave Ms. Nest a chance
to back off,17 she reiterated her position, this time in front of two staffers who commiserated
privately with KA.’s mother but did nothing to alter the course of events.18

Two lEP meetings followed, but at neither was there meaningful discussion of keeping KA.
at HFC or continuing in-home services. On May l 1, after KY.D. gave a detailed account of
observations at SBSD and her concerns, Ms. Nest instructed the “team” to “move on.” (V.l4, pp.
4332-36.) She prematurely declared impasse. (Id., pp. 4331, 4358.) Though SBSD’s counsel
dissuaded Ms. Nest from her ill-advised plan to finish the “FAPE [free appropriate public
education] offer” internally and send it to the parents (id, p. 4358), Dr. Schreibman was not invited
back to discuss actual program details. At the June 13 meeting, staff moved straight to their
stande options, making what turned out to be an unrealistic commitment to ameliorate the class

size concern19 but failed to consider what it would take for KA. to stay in her research-based,

 

16 Not only would this still constitute predetermination, as the IEP team had yet to meet, but
on its face, Dr. Schreibman’s hope to move a student doing very well in inclusion to an SDC in
hopes of extinguishing autistic behaviors denied LRE rights, and Ms. Nest was not entitled to
assume that her “team” would endorse such an unlawful plan. To the extent that staff too had a
tendency to put “team pride” or logistical convenience above LRE requirements, it was up to Ms.
Nest as the responsible administrator to counter that tendency, not pass along notions that had never
been scrutinized in terms of the Holland factors to the parent as a “heads up” on what the IEP team
would be doing.

17 School psychologist Sharon Loveman arranged a meeting involving Ms. Nest, KY.D.,
herself, speech and language pathologist Lisa Ryder and lane Whitney, the SDRC educational
consultant who had worked with the family over a long period, and had called Ms. Nest to try to
facilitate, not circumvent, the IEP process, (V. 4, pp. 794-98; 802-03.) The purpose was to “clear
the air” of predetermination concerns. (V. 4, pp. 798-01.) Ms. Nest’s claim that Ms. Whitney started
the notion of simply continuing the settlement agreement (V. 1, p. 211) is inaccurate, and like other
excuses for the District’s evasion of the IEP process, irrelevant.

'“ v.4,pp.1011_14,1019-21;v.5,p.1044.

19 Though KA.’s IEP commits to a class size of 12, presumably meaning during the two
hours she was originally slated to be there (V. 12, p. 31 1 l), it emerged that the class size was still 24,
and that half-class rotations would comprisejust 1/3 of KA.’s CDC time, that students would

fluctuate because of varying child care schedules, and that since recess and snack time combine CDC
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PLAlNT|FFS’ REQUEST THAT DEClSlON BE IN PART SUSTAlNED AND lN PART REVERSED

 

 

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inclusive and highly effective program, with either District or Coyne ABA support. SBSD’s
attorney asked for an “agreement to disagree” before most team members had expressed their
views. (Id., p. 4401 .) Discussion was curtailed, with the IEP asserting that “it appears that the
parties are agreeing to disagree on placement.” During the controlled discussions at IEP meetings,
though staff scrambled in mutually inconsistent ways to justify their “FAPE offer,” at no point did
they veer from the course announced by Ms. Nest before IEP deliberations started.

B. Judge Lepkowsky ignored indirect but powerful evidence of predetermination,

Staff who claimed that family requests were “considered' did so in conclusory ways that were
implausible (V. 1, p. 193) or dissociated from the IEP process (V. 9, pp. 2136-37). Dr.
Schreibman, who wanted a continuing role for HFC and thought CDC clearly unsuitable, was not
invited back to design or understand the final offer. Despite their supposed concerns about moving
from I-IFC to kindergarten, Dr. Schreibman and staff failed to observe the class to which KA. could
advance at HFC,20 or to look into whether Coyne and HFC staff could use, or were using, the very
strategies they proposed to use, (E.g. V. 8, p. 1825 l. 6 - p. 1826 l. 73.)

That KA.’s family was reacting to a real problem is confirmed by their brief but intense
history. ln July 2005, nearly a year before KA. turned three, Erin Ring, who has consulted for
SBSD and SDRC, told KY.D. that the low number of hours she was authorizing through SDRC
would drop at age three, At a February 2006 transition meeting, SBSD teacher Janet Dusch
explained her class, the District’s only one, and that ABA would occur in her room. (V. 4, pp.
971.) Though Judge Lepkowsky stressed differences between the District’s posture in spring 2006
and 2007, the similarities are more striking. Despite KA.’s dramatic progress, SBSD reshuffled the

same elements with even the relative mix changing less than met the eye.21 Indeed, staff take

 

and SDC students, designating them as “CDC time” was arbitrary and, given the paucity of social
facilitation and limited CDC teacher involvement with students who are supported by aides.
misleading

211 This was not, as the hearing officer charitably concluded, because they had not been “ab|e”
to do so (Exh. A, at 5709 11 33), but because staff did not ask to see it late in the process, at a difficult
time for HFC (V. 12, at 3196), and did not take any steps to make it happen during the long gap
between IEP meetings.

21 Through a series of meetings and letters in spring 2006, Ms. Nest made clear that KA.
would need to go into the single SDC for three-year-olds, and that mainstreaming could consist of

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PLAINTIFFS’ REQUEST THAT DEClSlON BE lN PART SUSTA|NED AND lN PART REVERSED

 

 

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considerable pride in physically concentrating preschoolers with disabilities on a site where
“collaboration” is so easy. None of the three key features of KA.’s program_ongoing in-home
services, full-time general education preschool, and individualized ABA with knowledgeable
experts on early intervention in autism_is consistent with SBSD’s model, and at no point did the
District consider departing from that model through an IEP process, lt does not appear to have
done so for other children, though staff were particularly vague in responding to questions on that
score. They did not discuss doing so for KA. with her family or, apparently, intemally.

ll. OAH erred in con_mletelv denying reimbursement for an Independent Educational
Evaluation {IEE) performed bv Dr. Caroline Bailev in response to a District evaluation
with which the parents disagreed.

IDEA regulations give parents who disagree with district evaluations the right to an lEE at
public expense unless the district proves its evaluation was appropriate or that the parental
assessment failed to meet reasonable criteria set by it. 34 C.F.R. § 300.502. SBSD did not meet
either burden, or try to. Instead, after three staffers and a world-renowned autism expert observed
KA. in three settings, reviewed public and private records, and called for radical program changes
based on their findings, SBSD claimed they had done mere “observations” which triggered no lEE
right (V. 18, p. 5838), and put on no evidence about any local lEE criteria. Yet they won, after
OAH adopted their distinction between “observations” and assessments,” faulted the family for
having failed to obtain a “real” lEE (in her view, one with standardized testing), and found the
family had failed to meet a newly defined burden-proving the superiority of observations_which

given the ALJ’s theory that no criteria22 even apply appears insurmountable

 

her spending some time, eventually pinned down to about an hour a day, in CDC, and that 1:1
teaching would occur at school, not home. (V.4, p. 972; V. 17, pp. 5529-30.) In June 2006 Ms.
Nest asked KY.D. what she thought about creating one or more small classes more suitable for
inclusion at CDC, and though she responded positively, nothing came of this. Instead, in spring
2007, despite KA.’s success in inclusion and despite the District’s expert’s admiration of HFC and
view that CDC was not appropriate and would not be any time soon, what was on the table for the
next IEP was the same three-part program-and even changes in the mix were more apparent than
real since CDC and SDC students were in the same common areas for part of the day anyway.

22 By barring recovery for expert fees for hearing preparation and testimony, Arli'ngton made
the right to an adequate lEE in which necessary information could at least be gathered at public
expense an even more critical protection for access to due process.

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PLA|NT|FFS’ REQUEST THAT DEClSlON BE lN PART SUSTAlNED AND lN PART REVERSED

 

 

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The right to an lEE is at the top of Congress’s list of procedural safeguards of which parents
must be periodically informed. 20 U.S.C. §§ 1415(b)(1) & 1415(d)(2) (A). IEEs were recognized
as a key safeguard in Schajfer v. Weast 546 U.S. 49 (2005),23 made even more vital by Arlington v.
Murphy, 548 U.S. 291 (2006). lt would have been risky to approach school age, and foolhardy to
enter due process, without an lEE that put into perspective and defined research-based responses to
the concerns over “autistic behaviors,” dependency and generalization that SBSD took as
precluding full inclusion and rendering in-home ABA unnecessary or detrimental. Facing a district
intent on going straight to hearing, with Laura Schreibman’s recommendations at the center of its

case, KA.’s parents needed, and got, an IEE.

A. SBSD’s observations amoipit to a seriously deficient evaluation.
OAH erroneously accepted the District’s characterization of its review of KA.’s performance
as a set of “observations” rather than an “assessment.” However, treating the spring 2007 process

as anything other than a formal assessment is at odds with how it originated,24 was carried out,25

 

23 The Supreme Court declined to override the rule that the party initiating a case bears the
burden of proof largely because it did not perceive a serious imbalance in access to information:
'I`he regulations clarify this entitlement by providing that a ‘parent has the

right to an independent educational evaluation at public expense if the

parent disagrees with an evaluation obtained by the public ageney.’ (citation
omitted) IDEA thus ensures parents access to an expert who can evaluate

all the materials that the school must make available, and who can give an
independent opinion. They are not left to challenge the government without

a realistic opportunity to access the necessary evidence, or without an

expert with the firepower to match the opposition.

Id. at 60-61.

21 Observations of KA. began in response to her mother’s signature on an assessment plan
which was developed at an IEP meeting convened to “discuss need for reevaluations.” (V. 12, p.
3319.) The plan itself explained that there would be an “outside evaluation” in order to “update
present levels for purpose (sic) educational planning,” the category for which was “other needed
evaluation for identified student.” (Id., p. 3263.) The meeting notes noted KY.D.’s request for a
“written description in advance of the consultation/assessment that will be conducted by a private
Autism consultant to be contracted by the District,” as well as the “team’s” plan to make “every
effort” to provide “evaluation reports"’ prior to the IEP (]d ., p. 3107.) KA.’s parents have received
procedural safeguards presumably containing, as required, lEE rights,

25 The District conducted an assessment involving over ten hours of observation by four
individuals in three settings, as well as standardized language testing. Scores were combined with

observations in an “lndividual Summary of Assessment / Speech and Language.” (id., pp. 3154-60.)
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PLAlNTlFFS’ REQUEST THAT DEClSlON BE lN PART SUSTA|NED AND lN PART REVERSED

 

 

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and ended.z° Moreover, Califomia defines “assessment” as having the same meaning as
“evaluation” in federal law. CEC § 56302.5. lEE rights under federal law do not depend on
standardized testing having formed part of the challenged evaluation, An evaluation takes place
when information is gathered to assist in the determination of “the content of the child’s [IEP].” 20
U.S.C. § 1415(b)(2). An observation is part of an evaluation when it is used as “the basis for
making the deterrnination” of a pupil’s need for special education and related services. CEC §
56327. While an assessment report must include information gathered through observation, CEC §
56327(¢)-(d), there is no similar requirement that it include the results of standardized testing. 'l`hat
Dr. Schreibman gathered information for the purpose of determining KA.’s needs and the content
of her program-_i.e., that she performed an evaluation-is clear. Questions of the appropriateness
of the evaluation, most fundamentally, whether the strategies used provided “relevant information
that directly assist[ed] persons in determining the educational needs of the child,” do not depend for
their answers on the use of standardized testing. 20 U.S.C. § 1415(b)(2). There are statutory,

regulatory and common sense standards, and the District’s assessment falls short of them. While

some specific requirements for Standardized testing have no application to observations, other
requirements apply regardless of the nature of the evaluation procedure, and similar concerns exist
with respect to all forms of evaluation, Tests must be chosen not to be racially or culturally
discriminatory, and observers should obviously strive for the same qualities. Though assessments

must take into account all areas of suspected disability, KA.’s longstanding vision problem was

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C°mpletely lgnOred, contributing to flawed recommendations The fact that though she received

 

26 The agenda for the May l 1 lEP refers to reviewing “assessments.” (]d_, p. 3149.) This

formal, consented to, multidisciplinary assessment, capped with recommendations by a famous
autism expert, formed the rationale (and conceivably the basis), for SBSD’s push to remove KA.
from her inclusive preschool as well as to terminate her in-home program. IEPs are to reflect
assessment data, and this assessment was the sole source of information supporting the spring 2007
proposed IEP (which sharply contradicted the family’s requests and recommendations from l~lFC,
Coyne and Ms. Whitney). Finally, it is hard to imagine a purer “litigation afterthought:” SBSD filed
for hearing to demonstrate the appropriateness, not nonexistence, of its assessment, (V. 18, pp.
6011-15.)

21 Though the District’s itinerant visual specialist has warned of visual fatigue (V.12, p.
3129) and her IEP calls for “visual breaks,” (id., p. 3081), Dr. Schreibman had not noticed frequent

references in records to vision problems, and though she wondered about vision when she saw KA.,
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PLAlNTlFFS’ REQUEST THAT DEClSlON BE lN PART SUSTA|NED AND IN PART REVERSED

 

 

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records, Dr. Schreibman failed to notice references to atrophy of one eye suggests that she relied
very heavily on observation, violating the prohibition on basing decisions on a single procedure.
CEC § 56320(e). Dr. Schreibman’s focus on the negative, other than a brief acknowledgement that
she had made “substantial and impressive progress” during the past year, was also problematic as
the purpose of the assessment is to inform an lEP, and IEPs must take into account student
strengths.28 The “theoretical” underpinning of her recommendation was not the peer-reviewed
research that is supposed to be incorporated into IEPs.29 Her cursory, result-oriented document did
not even sufficiently convey her own views; an evaluation which has to be supplemented by cross-

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examination does not provide adequate guidance for IEP teams, which meet before hearings.

 

she treated very occasional looking at walls not only as a behavior but, in a more remarkable leap, as
a basis for removing KA. from general education. As in Val Verde, at 29, this gap affected the
overall validity of the District’s conclusions.

211 20 U.S. § l414(d)(3)(A)(i). For KA., a key strength was her extremely rapid rate and high
quality of progress with just the kind of traditional ABA program combining l:l home-based
instruction with inclusive preschool and playdates which Dr. Schreibman was proposing to replace
by an SDC model that has fared much more poorly in research. lt should not have taken a hearing to
learn that the negative behaviors described by Dr. Schreibman were low in frequency, duration and
intensity, and that much of the time KA. demonstrated positive behaviors: that should have been
apparent from her assessment report, and was not.

29 At the IEP meeting to discuss her assessment, Ms. Nest cut off questioning of Dr.
Schreibman about reasons for her views. (V. 14, pp. 4325-29.) At hearing, she was not aware of any
research supporting SDC placements over inclusion for reducing perseverative play (V. 9, p. 2254 l.
23 - P. 2255 l. 8), and identified no empirical support for her view that it was so high a priority for
KA. to eliminate “distinguishing” autistic behaviors that it made sense to scrap inclusion and
existing peer friendships in hopes of doing so. Rather, she referred to the “effect on her” of seeing
high-functioning people with autism who wish they had not been treated as different and teased. (V.
9, p. 2186 ll. 2-25). This led to a proposal sharply at odds with IDEA’s LRE mandates and
requirement that lEPs incorporate peer-reviewed research to the extent practicable 20 U.S.C. §
l414(d)(1)(A)(i)(IV). lt ignored Congress’s and the Supreme Court’s view beginning in race cases
and continuing in the disability arena that forced segregation, not difference per se, generates stigma.
Finally, it is unlikely that people who decry teasing would look back more fondly on decisions by
adults in power to segregate them and work on “extinguishing” neurologically rooted “behaviors.”
At hearing, she conceded critical points that needed to be taken into account by anyone
purporting to follow her recommendations (which had gone unnoticed in the IEP process for which
she had dropped in), or seeking to evaluate the correspondence between her recommendations and
peer-reviewed research or legal rules: (1) lf KA. were to be removed from her community preschool
to participate in a special day class, the IEP team would need to develop and monitor empirical “exit
criteria,” and it would be far more promising to try to reintegrate her into a small class such as her

current one than CDC, (2) Though Dr. Schreibman had acknowledged in passing in her letter that
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PLAlNTlFFS’ REQUEST THAT DEClSlON BE lN PART SUSTA|NED AND lN PART REVERSED

 

 

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OAH’s concern that observation guidelines are not spelled out is just partially true and irrelevant.31
Moreover, OAH lost sight of the crucial function of lEEs under IDEA. An assessment does
not become “appropriate” merely by steering clear of the specific statutory prohibitions in
Education Code 56320, such as those on violating test protocols and using biased instruments; the
more fundamental question is whether an assessment being defended against an lEE or lEE request
provides “a clear understanding of [a student’s] relative strengths and weaknesses and offer[s]
services that meet his unique individual needs.”32 This case closely resembles A.S. v.Norwalk

Board of Educ., 183 F.Supp.2d 534 (D. Ct. 2002).33 SBSD cannot claim the mantle of objectivity

 

KA’s “noncontextual language” and forceful dinosaur preference were to some extent not surprising
given her age, the implication was that the goal should not really be “extinguishing” them. To
operationalize these concerns it would be necessary to set reduction targets that took into account
typical peers’ “rates” of these behaviors, which she had made no effort to do. What Dr. Schreibman
proposed to do with this information was to establish reaching typical rates of these behaviors as a
necessary, though not necessarily sufficient, condition for returning to general education. (3) She did
not think KA. needed or would benefit from the “visuals” that are an essential strategy of the SBSD
preschool special education classes, and had in mind more verbal prompting, a recommendation
sharply at odds with the plans of Jodie Reise, who would actually control KA.’s program and who
was heavily influenced by TEACCH, a non-ABA model that views lifelong support as generally
inevitable and tends to accommodate autistic behaviors rather than focusing on their fundamental
alteration (V. 16, at 4996-5006). (4) Her preference for an SDC as a more “realistic” setting for
getting needed supports was based on the incorrect assumption that redirections at HFC would have
to come from the “behavior lady” rather than classroom teachers, who are committed to promoting
varied and skill-building play for all their students and do so.

31 The fact that statutes and regulations are not exhaustive is one of the reasonsjudging is
necessary, not a problem making it impossible. Given the multiplicity of professions and settings
that may be involved, it is hard to imagine how observation “criteria” could be put in a statute. Even
for formal tests, statutes do not provide or reference all relevant considerations Rather than laying
out specifics, they require following producers’ instructions, but even if a testing manual did not say
that the student must not have a fever or should not be given the exam in question at the end of eight
hours of consecutive testing, judges would need to take into account factors casting doubt on results.
32 s an Luis Coasml Um'f. sch. Di.s-t. v. Benjamin L., oAH No. N2005080655, at 15-16
(2005), partially reversed on other grounds sub nom. B.L. v. San Luis Coastal Sch. Dist., CV 06-
1747 (2007). Modesto City Schools, id., at 13, 16 (evaluation lacking necessary data does not
"sufficiently fulfill the requirement of providing relevant information to assist the IEP team in
determining Student’s educational needs related to decreasing his problem behaviors,” and an lEE
that fills gaps is reimburseable).

33 In that case, though the District complained about the independent assessor’s methodology
and claimed the assessment was litigation-, not lEP-driven, an lEE which helped parents present the
student’s needs accurately in due process, as part of the parents’ resistance to a more restrictive than

necessary placement, warranted reimbursement
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that comes from relying on, and adhering to administration requirements for, standardized
instruments: the only instruments it used, in the speech and language area, suggested that KA.’s
existing program was working extremely well, as did other measures of language and cognition.
SBSD’s multi-faceted assessment pointed KA.’s IEP team, and threatened to point OAH, in an
incorrect and unlawful direction. SBSD’s assessments alluded to, but did not provide operational
definitions of or indications of frequency for, perceived autistic “behaviors” and undue prompt
dependency. lt did not track whether these issues were getting better or worse with existing
services. Staff failed to supplement brief school observations by looking at readily available data
which showed that KA. had become more independent with more complex activities. Cf. Val
Verde Unij.` Sch. Dist. v. Parents, OAH Case No. 2008030801 (2008) (district assessment
inappropriate where not all records reviewed). The District’s evaluation of the home program it
sought to terminate was even more cursory. Though SBSD stood eager to take over services
previously provided in KA.’s home and community and proposed to do so withjust two hours of
transition time, no one reviewed those services in enough detail to be able to say how close their

own services would be to those they proposed to end.34

Final|y, though it is an essential part of educational assessments that pieces be combined into
a whole, no coherent picture emerged from the assessment itself, or from individuals’ explanations
during KA.’s IEP meetings or at hearing. Staffers who recommended the same settings wanted
very different things done within them. ln their “notes,” staff anecdotally and vaguely reported
observations while remaining noncommittal regarding their educational implications, while Dr.
Schreibman did essentially the opposite. The bottom line that KA. was not “ready” for inclusion

was stark, though it was not clear until hearing that her preference was to supplement, not suspend,

 

31 The District opted not to have two of its key witnesses, Dr. Schreibman and Lisa Ryder,
even observe KA.’s home program, and no one looked at logbooks with any care. Staff who saw
that KA. talked and played more in her house than in a large group setting failed to recognize either
that this might be quite appropriate on her part, or that it might point to the continuing importance of
home as a setting for acquisition of difficult new language concepts. District witnesses differed
among themselves and with Dr. Schreibman about whether KA. needed to work 1:1 on areas of
language such as grammar, and none had enough information about the ABA language development
activities which had played such a large role in her dramatic improvements to formulate clear or

Fubstantiated recommendations as to what the next steps should be.
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mainstreaming at HFC, but her behavioral descriptions were unclear and, as it turned out. grossly
unrepresentative While SBSD’s special education director did too much of the wrong kind of
planning, other team members did too little. lnformation that some had, like that KA. had a vision
impairment, failed to inform the recommendations of others. Though everyone lined up behind the
SDC recommendation, their reasons and plans varied. Dr. Schreibman’s goal was to “extinguish”
“perseverative behavior” that might be “distinguishing” as KA. got older. (V. 12, p. 3109.) She
conceded that she knew of no research suggesting this would be more feasible in a special
education setting than in a general education environment, though she thought it might be more
“realistic” to expect an SDC to feature the heightened prompting she deemed advisable.
Meanwhile, most District staff did not even see self-stimulating behaviors as a concem, and some
wanted to introduce visual schedules that Dr. Schreibman thought were unnecessary, and that other

witnesses testified would not foster, and might inhibit, KA.’s preparation for kindergarten.

B. An IEE conducted by Dr. Caroline Bailey was as appropriate as the District’s
was flawed, and should be fullya or at least partiallya reimbursed,

Given their need for an lEE and the District’s refusal to authorize one, the family took the
common and viable route of obtaining one privately, from Dr. Caroline Bailey, and seeking
reimbursement. (V. 12, at 281 1-35.) l~`or a district to avoid paying for an lEE based on deficiencies
in the private assessment, it must show that the assessment failed to meet reasonable agency
criteria. SBSD made no such effort,35 instead attacking Dr. Bailey’s qualifications, invoice and

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credibility, mainly in ways that were irrelevant, vague and or baseless. This does not seem to

 

35 Nor, though KA.’s parents went above and beyond legal requirements in asserting that
right, explaining in detail their disagreements and asking whether the District had established any
special criteria for IEEs that they needed to follow (V. 12, pp. 2933-35, 3018-21), the response they
received provided no guidance regarding any specialized District procedures (Id. at 2995-96.)
None were asserted at hearing either.

311 V. 18, pp. 5839-40. Dr. Bailey’s self-characterization as an “educational consultant” uses
the same terminology used by SBSD on its IEP notice to describe Dr. Schreibman’s role, V. 12, p.
3209, who also did no work in this ease that required licensing. The claim that work “appeared to
relate to legal consultation services” was unsubstantiated and inconsistent with the only evidence in
the Administrative Record, Exh. 8Xl, which was not included with the documents forwarded by the
District and is attached to KY.D.’s declaration accompanying this motion as Exhibit C. The charge

that Dr. Bailey did not “independently” think of seeing KA. at church, which she did the Sunday
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have worked: Judge Lepkowsky found Dr. Bailey’s information helpful, and cut off efforts to get to
the bottom of minor discrepancies about what she reported and what staff acknowledged having
said. Instead, she appears to have put quotation marks around “assessment” in referring to Dr.
Bailey’s work because by failing to include standardized testing, it fell short of what she incorrectly

saw as the “legal standar ” for a “formal assessment.” (Exh. A, p. 29 11 85; p. 30 11 91; p. 31 11 94.)

ln fact, though the family is not required to prove any of this given the District’s failure
successfully to assert any of the handful of defenses to lEE reimbursement, Dr. Bailey performed
exactly the kind of lEE needed here, she was qualified to do so,37 and she did it very well. Though
Dr. Bailey carefully reviewed KA.`s educational records and observed all relevant environments so
that she could compare KA.’s performance across settings and predict, albeit cautiously, how she
would likely respond to the mix of settings proposed by the District. She realized that KA.’s visual
attention and gaze differences could reflect either autism or visual atrophy and that in neither case
did they warrant educational segregation, She collected information from parents, a required
component of assessment As necessary, she focused on current needs needed to develop a current
IEP, not hypothetical future needs. Montgr)mery County Pub. Sch., 40 IDELR 59 (Maryland SEA
2003) (attached as Exh. D). ln contrast to Dr. Schreibman’s brief, conclusory letter, which failed
to set forth in any detail observations and interview notes underlying her recommendations, Dr.

Bailey wrote a long, detailed report showing KA.’s strengths as well as deficits and providing other

 

before she was to testify on Monday morning-having already written about transition issues and
lseen KA. in her other major environments, V. 12, pp. 2811, 2832, 3106-is insulting and baseless.
37 lt is not clear whether OAl-l deemed Dr. Bailey’s lack of a license significant lt is not.
Evaluators must be “qualified” rather than have any particular credentials or licenses. 34 C.F.R. §
300.502(a)(3)(i). Dr. Bailey’s decision not to pursue a license immediately did not reflect badly on
her or limit her ability to do what was needed, She could have done standardized testing under the
guidance and license of someone with a license, had any been needed, which none was. Though
early in her career, Dr. Bailey had outstanding academic credentials and extensive clinical experience
(V. 16, at 5263-70). She was knowledgeable about autism, early childhood education, language
development and inclusive educational practices, and made firrn, substantiated and almost entirely
uncontradicted statements regarding the state of research on autism and on segregated vs. inclusive
educational placements for preschoolers with this disability. Her report took into account research,
and she laid the groundwork for the admission at hearing of key articles located at V. 16, pp. 5021-
42. She was well-trained in techniques for systematic observation and detailed reporting of
interview and other results.

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key information.38 The ALJ noted that Dr. Bailey and other family witnesses were “useful in
providing an overview of Student’s present level of language and social interaction.” (Exh. A, at
25.) Dr. Bailey’s evaluation was one source of information on the class size and transition issues,
and helped constrain the District’s ability to mischaracterize the program. The lEE generated
probative evidence, much of it on subjects Judge Lepkowsky did not need to consider in detail in
light of her narrow ruling on the appropriateness of the District’s program for KA.

Although the primary basis for rejecting lEE funding appears to have been concern that this
was a mere “observation” which cannot objectively be judged, Judge Lepkowsky also seemed to be
disturbed by its cost, and though the District put on no evidence that charges were excessive,39 she
may have responded to her perception that they were by denying all reimbursement. lt was
improper to take virtual “administrative notice” that Dr. Bailey’s bill was excessive: there was
evidence supporting the bill and none to the contrary; if it was too high, the appropriate course was

partial, not zero, reimbursement.111 OAH’s approach denied due process‘11 and yielded information

 

38 Not only were her key observations undisputed, but her detailed accounts of conversations
and scenes allowed incorrect assumptions, diverging memories, and competing views to be identified
and corrected. ln contrast, Dr. Schreibman’s summary format left the family at the mercy of her
memory as to the many important points she omitted, and it was not clear until late in her testimony
that she was endorsing an “offer” which had never actually been made.

39 lt was up to the District to put on evidence regarding the reasonableness of lEE costs, and
it did not, Saying Dr. Bailey has an interest in her rate is a far cry from refuting her testimony that it
was customary. Nor, other than asking “really?” did the District cast any doubt on Dr. Bailey’s time
account, or reveal how long staff had taken in their own much less rigorous review of KA.’s
situation. lf SBSD knew of some cheaper way to fill lEE purposes, it passed up clear opportunities
to tell the parents when they expressed their disagreements with the District’s assessment and asked
for information regarding SBSD’s lEE processes. (V. 12, pp. 2933-36 & pp. 3018-21.) District
counsel’s response suggested no alternatives and specified no cost limits. (V. 12, pp. 2995-96.)

111 'l`he bill has now been reduced by Dr. Bailey to $8,000, as explained in the accompanying
declaration of KY.D. lt would be helpful to the family to be reimbursed for the amount on which
they are making payments, or preferably of course, enough to allow them to cover the entire invoice.
(Exhibit C, ‘ll 11.)

11 Not only is legal research not an appropriate way to analyze reasonableness of a cost
incurred by a family, but the fact that this was done while writing a decision, without notice that this
“evidence” was being considered, deprived the family of an opportunity to respond. The family put
on evidence regarding costs and would have had an opportunity to rebut any contrary evidence by the

District; the posture in which OAH’s cost comparisons came up denied this opportunity.
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of limited relevance.`12 Though there are many problems with using orders in other cases in lieu of
evidence in this one,‘13 the chief one is that the testing at the center of many lEEs is much quicker
than what Dr. Bailey did. lndeed, since outstanding gains in standardized tests requiring her to
apply acquired knowledge to novel test questions had already failed to defuse the District’s
ostensible “generalization” concems, the only way to counter an observation-based assessment was
with broader, more careful and better documented observations, placed in context of student data
and research. lt is easy now to second-guess Dr. Bailey’s level of detail; however, that precision
would have been critical had Dr. Schreibman not so drastically changed course,44 All evidence in
the record supports the reasonableness of Dr. Bailey’s charges. She testified without contradiction
regarding her hourly rate and the time spent on this case. She observed KA. at school, a park, home
and church, and saw each part of the proposed placement. She wrote a detailed, careful account of
her observations and attempts to gather information from those with whom she interacted. Given
both the need to understand KA.’s trajectory and the need to provide IEE information that was
relevant to the issues for hearing, she carefully reviewed KA.’s records, and was able to see that
KA.’s current progress was not some surprise that could not have been anticipated at KA.’s IEPs
last spring, and thus could be excluded on the authority of Adams v. Oregon, 195 F.3d 1 141 , l 150

(9th Cir. 1999), but rather than the predictable next phase of a well-conceived, well-implemented

 

42 Just how limited is not clear: we know OAl-l reviewed a “sampling” of “about 15” orders,
but not which, when they were issued, anything about the facts or whether the lEEs sufficed.

13 For instance, Judge Lepkowsky apparently looked at orders, not bills, yet inferred that Dr.
Bailey’s invoice was unreasonable because it exceeded awards. Perhaps other defendants put on
evidence about costs. To deny reimbursement altogether does not follow. Moreover, lEEs have
probably become more expensive since Arlington v. Murphy made it newly imperative to ensure that
expert work occurred as part of lEEs if possible, because costs could no longer be collected as part 011
legal fees. Schaj'er v. Weast, which shifted the burden of proof to parents in most special education
disputes, made it necessary for independent evaluators to devote more critical attention to District
programs and often to gather information needed to “prove the negative,” a new burden that has
increased data-gathering needs. Finally, IDEA 2004’$ new focus on peer-reviewed research makes it
imperative for evaluators to bring current research to bear on their reviews of district programs and
to ensure their own proposals are valid. For these reasons and more, criticizing Dr. Bailey’s bill in
light of a “sampling” of prior decisions is unreliable.

14 As the District’s only nonemployee witness and a prominent, amply funded researcher,

whose CV is at V. 16, at 5605-40, her views were likely to, and did, carry much weight.
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early intervention program. That these activities take time is suggested by the fact that no one on
the District side did anywhere near as much to understand KA.’s needs as Dr. Bailey did, and she
brought to bear research and concrete information about KA.’s history and placement options that
none had taken into account. That they are vital can be seen from the holes in the District’s
assessment. No one really knew much about KA. and transitions, except the gentle, familiar ones awi
HFC. Dr. Schreibman knew almost nothing about the District’s l:l teaching, and Dr. Ring was not
called to share what she knew. Though the rationale for in-home instruction is that KA. is learning
much of her new language from 1:1 teaching in the quiet, non-distracting environment of her home.
neither Dr. Schreibman nor the District’s speech and language pathologist saw these activities or
knew what they were, putting them in no position to evaluate their continued necessity (which did

not stop either from endorsing their cessation). (V. 8, p. 1793 l. 6 - p. 1794, 1. 2.)

C. The rules suggested by OAH’s lEE ruling would create unfortunate incentives
for families and school districts alike.

The new rules intimated in this decision will, if not repudiated on appeal, make assessment
planning_now an area in which even parties with underlying service disagreements can often work

together_-far more contentious They would reward gamesmanship and penalize parties who

cooperate in infomation'gathering~ Parents should be able to sign assessment plans in confidence
that lEE rights will be honored or, if necessary, enforced; the unusual holding here removes

parents’ historic incentives to cooperate, and creates the opposite.45 Par€m$ WO“ld be encouraged

to obtain standardized testing whether or not it is necessary lest an assessment be deemed a mere
“observation” or found to fall short of “legal standards,” and to press for conciseness over

thoroughness46 lncentive shifts on districts’ sides would be even more damaging There would be

 

15 Until now, parents have been well-advised to consent to observations because doing so
may bring about better services and more agreement, failure to do so risks being found
uncooperative, and findings can, if necessary, be countered through independent observations
Under the rules here, parents may decide the risk of looking noncooperative pales compared to that
of being confronted with powerful expert opinions and no funding to seek countervailing views

‘1° Since long, detailed reports that let readers draw their own conclusions might lead a
hearing officer to suspect waste or padding, independent assessors could rationally shift to writing
reports more like Dr. Schreibman’s, reducing the utility of required pre-hearing disclosures and the
capacity of those disclosures to result in settlements
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powerful incentives to bypass standardized testing and interview instruments (which come with
instructions for administration and are validated for specific purposes) and rely instead on
impressionistic observations by individuals (who, in the absence of any potential accountability,
may operate on fragmentary information, document selectively what they see and the opinions they
form, and “forget” what they do not write down). OAH’s ruling encourages districts to ignore
parent requests for lEE information and file for hearing without actually engaging on the narrow
issues IDEA makes relevant.

IV- WMM

A. OAH should have ordered SBSD to continue KA.’s existing support unless and
until it elected to provide this support internally or with another nonpublic
agency.

Though recognizing that KA. had a right to stay at HFC and needed support there, and
ordering that she be allowed to remain and that the family be reimbursed for tuition, OAH gave the
District 30 days to take over using Coyne or otherwise. SBSD took them all, forcing KY.D. and

B.D. to bear costs that were inconsistent with KA.’s right to a free appropriate public education.47

B. Plaintiffs were denied reimbursement for educational services provided bv KA.’§
mother, wpo provided direct instruction services that should have been provided
by SBSD.

When SBSD failed to specify what would be done during “extended day” hours, KY.D.’s
growing competence in ABA let her temporarily add formal 1:1 teaching to her intense “mother”
role in KA.’s program.411 Though appropriate relief includes reimbursement to parents for time they
spend personally providing services that agencies wrongly deny, e.g. Bucks County Dept. quental
Health/Mental Retardation v. Pennsylvania, 379 F.3d 61 (3d Cir. 2004); Hurry v. Jones, 734 F.2d
879 ) (lst Cir. 1984) (parents paid for driving services); Straube v. Florida Um'on Free Sch. Dist.,

 

17 A declaration from KY.D. describing expenditures the hardship they posed, and the
family’s failed attempt to secure correction of what seemed an inadvertent gap is attached as Exh. C.
48 KY.D. ‘s cv is ar v. 16, pp. 5272-73. she provided 36 hours sr ABA services (six per
week) from September 1, when last year’s settlement expired, through October 15, when alternative
funding was secured. She exceeded minimum direct service staff requirements She requested the

normal rate for 1:1 services ($50/hour) or at a minimum her likely take-home rate ($20/hour).
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801 F. Supp. 1164 (S.D.N.Y. 1992), OAH denied relief for three reasons none persuasive.

OAH’s limitation of this relief to situations where alternative providers are “unavailable” is
unwarranted Bucks County, the parent reimbursement case cited by OAH, required very little
showing that alternative resources were unavailable near Philadelphia, and such a requirement is
inconsistent with its rationales lt is hard to imagine a case where services are not available at some
price. There is no policy reason to promote paying agencies over self-help: as in the early months
of this case, parents who are forced to do more than should be their role can gain valuable skills,
and having parents provide their own interim services is likely to reduce ultimate reimbursement
bills Limiting compensation to families which spend money rather than cultivating skill and
devoting effort aggravates the socioeconomic bias inherent in reimbursement remedies

Though OAH was correct that “implementation of ABA concepts in an autistic child’s home
after the child’s parents have received training, appears to be one of the foundations of ABA
therapy,” this does notjustify denying parents relief when they do what districts should have. Case
law distinguishes between the normal parent roles in ABA program and the roles that parents arc
sometimes forced to assume when districts default, as did witnesses in this case. KY.D. has risen
to the challenge of being KA.’s mother;49 she is requesting payment for hours of formal
programming that was done by tutors before and after her temporary takeover. (V. 5, pp. l 121-24.)

Reimbursement should not have been denied on the grounds that KA. could have been
appropriately served through school-based ABA. This service was more likely than not
inappropriate regardless of where KA. was spending her school days, and once two-thirds of her
day had been found inappropriate, going to the SBSD site simply for extended day activities made

far less sense than continuing to have a much smaller part of her program than before at home.

 

49 KY.D. plays a major role in structuring all of her daughter’s activities At the time of
hearing she had given up paid employment She was providing daily consequences based on
preschool performance. She was taking KA. to speech and language therapy and implementing
suggestions from Ms. Ryder and other trainings. She was arranging play dates She was meeting
regularly with staff to go over ABA data and fine tune her “mothering” activities She was working
with other parents to improve SBSD services During hearing, she was about to be released from a
long stint as KA.’s aide in a Sunday School class where own mother was the teacher. Unfortunately,

the District’s handling of KA.’s education made advocacy a significant task in its own right,
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where she could continue to work on difficult, stressful tasks and have her language corrected in
private, and where play dates could continue to enrich her social interactions with classmates.50
CONCLUSION

For KA.’s parents fascinating as it would be to embark on discovery in the Section 504
matter as to why SBSD has dealt so wastefully and unlawfully with their daughter and them, they
would much prefer to see this case end, in a way that will encourage SBSD to work more openly
and collaboratively in the future. This case needs to end with an affirmance of OAH’s compelling
findings as to KA.’s right to be educated in general education environments with natural
proportions of children with and without disabilities and with social interactions and daily
transitions that are reasonable given her age and disability, and, for that matter, our shared
limitations as human beings lEE funding and the other reimbursements being requested would
ease the financial burden that lingers from this dispute. lt is important for these parties and others
to make clear that predetermination is hard to prove, it is not impossible under circumstances as

egregious as those here,

DATED: 27 April 2009 /S/MAUREEN GRAVES, ESQ.
Maureen Graves, Esq.
Attomey for Plaintiffs
KA.D., a minor, by her mother, KY.D., as her next f riend;
KY.D.; and B.D.

 

’° OAH erred on several grounds: 1) the decision to remove in-home services was a product of
unlawful predetermination for which relief in the form of reimbursement is warranted; 2) OAH
departed from the preponderance standard by stating repeatedly that plaintiffs had failed to present
"compelling” evidence that Ka. could not benefit from school-based District ABA and required in-
home services; 3) OAH failed to recognize that receiving services at home-alongside her parents
grandparents and sister and, as acknowledged by the District, in “play groups and social situations”
was less restrictive than being behind a partition in a special day class for three years olds, with the
only meaningful “school” aspects being adult interactions that could occur anywhere, possible peer
activities that might involve students with or without disabilities and likelihood of incidental
exposure to negative behaviors by other students deemed to need 1:1 teaching (AR, V 18, Exh. 25, at
5828 ll. 4-11); 4) OAH erred by allowing the District to replace KA.’s highly effective home
program with a set of activities which it refused to describe with any clarity or consistency, 5) OAH
erred by allowing competent ABA to be replaced with providers who had been shown more likely
than not unable to serve KA. effectively. (E.g., V. 5, pp. 1062-75; V. 8, pp. 1885-93; 1917-18.)

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PLAlNTlFFS’ REQUEST THAT DEClSlON BE lN PART SUSTA|NED AND lN PART REVERSED

 

 

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EXH|B|T A

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BEFORE THE
OFFICE OF ADM|N|STRATIVE HEARlNGS
SPECIAL EDUCAT|ON DlVlSlON
STATE OF CALlFORNlA

ln the Matter of:

STUDENT, OAl-l CASE NO. N 2007070255
Petitioner.

v.

SOLANA BEACH SCHOOL DlSTRlCT.

Respondent.

 

SOLANA BEACH SCHOOL DlSTRlCT. OAH CASE NO. N 2007090146
Petitioner.

V.

STUDENT,

Respondent.

 

 

DEClSlON

Darrell Lepkowsky, Administrative Law Judge (ALJ), Office of Administrative
Hearings (OAH), Special Education Division. State of California, heard this matter on the ten
business days between October 29. 2007. and November 9, 2007, with the eleventh and final
day of hearing held on November 19, 2007, at the offices of the Solana Beach School District
in Solana beach. Califomia.l The hearing was open to the public, at the request of Student’s
parents

 

' The hearing was originally scheduled to begin on October 22. 2007. Due to the fires in San Diego
County, the hearing was postponed a week.

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Attomeys Maureen R. Graves and John G. Nolte represented Student and her parents
Student’s mother was present throughout the hearing. Student’s father was occasionally
present.

Attorney Jonathan P. Read, of Fagen, Friedman & Fulfrost, LLP, represented the
Solana Beach School District (District). Mary Ellen Nest, the District’s Director of Pupil
Services, was present throughout the hearing.

Student filed a request for due process on .luly 10, 2007. The District filed a request
for due process on September 7, 2007. The District’s unopposed motion to consolidate the
two cases was granted on September 14, 2007. App|icable timelines for the cases were
deemed to begin running from the date the District’s due process request was filed. At the
due process hearing, the ALJ received sworn oral testimony and documentary evidence. At
the conclusion of the hearing, the parties agreed that the record would remain open in order
for the parties to submit post-hearing closing briefs and reply briefs Both parties timely
filed their closing briefs on December 17, 2007. Student timely filed her reply brief on
December 24, 2007. The District filed its reply brief on December 26, 2007. The ALJ
closed the record and deemed the matter submitted as of December 26, 2007. The parties
stipulated to tolling the time in which a decision was due until January 7, 2008.

issuizs2

l. Whether the District denied a free appropriate public education (FAPE) to
Student for the 2007-2008 school year and 2008 extended school year by:

A. Predetermining its offer of placement and related services

B. Failing to consider all relevant data concerning Student, including input
from her parents, before making an offer of placement and related services

C. Failing to offer an applied behavior analysis (ABA) therapy program
that meets Student’s unique needs because it is not scientifically based and supported

 

1 During the hearing. Student withdrew as a separate issue her contention that the District denied her a
FAPE by failing to ensure Dr. Laura Schreibman’s presence at all of Student’s individualized educational plan team
meetings during the time in question. Additiona|ly. Student originally raised the issue, in her complaint and at the
prehearing conference, of the District’s alleged failure to develop an appropriate plan to transition Student from her
current educational program to the program offered by the District. However, Student did not present any evidence
addressing this issue at hearing and Student does not address it in her closing brief. The only reference to a
transition plan in Student’s brief is a one-sentence reference to the fact that the District’s proposal for two hours of
consultation between its staff and Student’s present providers of applied behavioral analysis services is insufficient.
This issue is therefore not addressed in this decision. Finally, the issues have been restated in accord with the
evidence presented at hearing and the arguments offered by Student in her briefs

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by peer-reviewed research, to the extent practicab|e, is not offered in a home
environment, and fails to provide a sufficient amount of therapy hours

D. Offering a placement for a portion of Student’s school day in a special
day class that does not incorporate adequate ABA principles, fails to include peers
with compatible instructional needs, and which is not the least restrictive environment
for Student.

E. Offering a placement in a District general education classroom for a
portion of Student’s school day that is an inappropriate instructional setting for her
and whose addition to Student’s program creates a school day that includes too many
transitions between classroom settings

F. F ailing to provide staff capable of implementing the individualized
educational plan (IEP) offered by the District.

2. Are the District’s assessments of Student with regard to her educational
placement appropriate and, if not, is Student entitled to reimbursement from the District for
the independent assessment conducted by Dr. Caroline Bailey?

REMEDlES SOUGHT BY STUDENT

Student seeks District funding of 34 hours per week of direct ABA therapy,
through her present provider, Coyne & Associates (Coyne), with the hours to be divided
between student’s private preschool, her home and in the community. Student also seeks 16
hours per month of ABA supervision, also through Coyne, and payment for two hours per
month of ABA clinics, attended by Student’s educators, aides, and ABA providers Student
also seeks reimbursement to her mother for time her mother spent providing ABA therapy to
Student in their home. Student also seeks reimbursement for the cost of her tuition at the
Hanna Fenichel preschool for the 2007-2008 school year, which has already been paid by her
parents, along with an order for prospective placement at Hanna Fenichel with one-on-one
aide support from Coyne for all hours Student is in attendance, for the remainder of the
2007-2008 school year. Finally, Student seeks reimbursement for the services provided by
Dr. Bailey, including her observations time spent researching and reviewing Student’s
records, and time spent preparing her report.

CONTENT|ONS OF THE PARTIES

The main thrust of the dispute between Student and the District in this case is where
Student should be educated in order to prepare her for entering a general education
Kindergarten class in the fall of 2008. The parties do not dispute that Student should spend
at least some of her time in a preschool classroom with typically developing peers. They do
dispute, however, whether a District placement is appropriate to meet Student’s unique

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needs With regard to the provision of one-on-one ABA services the parties do not dispute
that Student presently requires an aide during any time she spends in a typical general
education class, Nor do they dispute that Student requires at least some direct individual
ABA therapy. Rather, they dispute who is to provide the ABA aide and services the amount
of direct services Student requires, and if direct services should be provided at Student’s
home or at the District’s preschool campus

Student contends that the District committed procedural violations of the reauthorized
lndividuals with Disabilities Educational Act (lDEA) during the IEP process by
predetermining her placement in the District’s preschool and predetermining that Student no
longer required that her present amount of ABA services continue in her home. Student also
contends that the District failed to consider all relevant data concerning Student, including
input from her parents and Coyne, before making an offer of school placement and related
services and failed to offer a program that is scientifically based and supported by peer-
reviewed research, to the extent practicable. Student further contends that the lEP offer is
substantively defective because it fails to meet her unique needs Student contends that the
District’s offer does not include provision for sufficient direct ABA3 instruction, fails to
include peers with compatible instructional needs and includes too many transitions between
classroom settings Student further asserts that the District’s offer of placement for part of
her day in a special day class (SDC) is not the least restrictive environment (LRE) for her.
She also contends that the offer of placement in the District’s general education classroom
for the other portion of Student’s school day is inappropriate due to the structure of the class
and, in particular, the amount of students in it. Student further contends that District staff is
not capable of implementing the District’s proposed lEP. Finally, Student contends that the
District failed to assess her appropriately and that she is therefore entitled to reimbursement
for the services of Dr. Caroline Bailey, including all time spent on observations review of
records research, and for preparation of Dr. Bailey’s extensive report.

The District contends that it did not commit any procedural or substantive violations
of the IDEA. lt asserts that the evidence fails to support Student’s contention that the

 

1 As explained by District expert Dr. Laura Schreibman, ABA, as an intervention for the treatment of
autism, is ofien associated with specific behavioral methods such as: discrete trial training (DTT); intensive
behavioral intervention; incidental teaching; pivotal response training; and verbal behavior analysis A discrete trial
is a single cycle of a behaviorally-based instruction routine. A particular trial may be repeated several times in
succession, several times a day, over several days (or even longer) until the skill is mastered.

The method and technique of ABA therapy requires that targeted behaviors be reduced to their most basic
elements and that the child is then trained by repetitious drilling in the redirected behaviors desired. Contextual
factors established operations antecedent stimuli, positive reinforcers, and other consequences are used, based on
identified functional relationships with the environment, in order to produce practical behavior change. Negative
behaviors are generally ignored. Prompts or other assistance are timed and provided to assure correct responses and
then gradually "faded" to establish independence. The child is then urged to repeat each task until it has been
leamed. Overall, the treatment focuses primarily on developing language, increasing social behavior, and promoting
cooperative play with peers along with independent and appropriate toy play. Concurrently. substantial efforts are
directed at decreasing excessive rituals, tantrums and aggressive behavior,

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District predetermined its offer of placement to her or failed to consider relevant information
about Student from her parents or other sources lt further contends that the educational
program offered to Student at the June l3, 2007 lEP team meeting provides Student with
educational benefits and permits her to progress in the curriculum. The District contends that
the teachers, aides and service providers on its staff are capable of addressing all of
Student’s educational needs The District further asserts that its offer of placement for part
of Student’s day in its SDC, and for part of Student’s day in one of its general education
preschool classes was an appropriate offer for Student and was the least restrictive
environment for her. The District further contends that Student does not require more than
10 hours a week of ABA therapy, Finally, the District asserts that Student is not entitled to
reimbursement for the services of Dr. Bailey. The District asserts that Student’s parents
failed to disagree with the assessments conducted by the District, a prerequisite to their
entitlement to an independent educational evaluation (lEE). ln the altemative, the District
offers that its assessments all met appropriate legal standards The District therefore denies
that it violated Student’s rights under the lDEA or that she is entitled to any of the remedies
she has requested.

FACTUAL FINDlNGS
Background Information

l. Student is presently just over four-and-a-half years old. She was born on April
24, 2003. At all times relevant to the allegations in this case, she resided with her parents
within the District’s boundaries Student is eligible for special education and related services
based upon a diagnosis of autism. Her eligibility for special education services is not at issue
in this case.

2. Student’s parents and grandparents started noticing that Student was failing to
develop appropriately when Student was around two years old. They noticed that Student’s
eye expression was “fiat.” Student was not showing any interest in talking, was not
babbling, as would a normal child, had no eye contact, and showed no interest in others
Student’s medical providers diagnosed her with severe autism and referred Student’s parents
to the San Diego Regional Center. The Regional Center eventually evaluated Student,
determined that she suffered from developmental delays including speech and language
delays and found Student eligible to receive services Observations by the Regional Center
noted that Student failed to interact with others engaged in minimal eye contact with others
failed to respond to basic commands or to her name, would run out of the house, exhibited
some aggressive behaviors was prone to tantrums, and exhibited some stereotypical autistic
behaviors such as spinning and hand movements The Regional Center found that Student’s
educational needs were severe and that her behavioral needs were moderate. The Regional
Center contracted with Coyne, which is certified by the state of Califomia as a non-public
agency (NPA) to provide the ABA services to Student.

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3. Once Student was diagnosed with autism, her mother became an active
participant in researching information and treatments on autism and personally learning
techniques which Student’s mother could implement herself with Student. Mother’s research
on the intemet in the summer of 2005, led her to the Brent Woodall Foundation.4 The
foundation evaluates children for autism and recommends treatments and sources of
assistance for parents Tracey Woodall runs the Foundation, which is based in Texas.
Student and her mother flew to Texas in August of 2005. Ms. Woodall administered the
Assessment of Basic Language and Learning Skills to Student to assess Student’s present
developmental levels and to assist in educational planning for Student. The assessment
indicated that Student demonstrated severe cognitive delays However, the assessment and
observations of Student indicated that she was able quickly to acquire tasks that did not
require language comprehension. The assessment also indicated Student had profound
receptive and expressive language delays and that Student did not then possess any
functional social skills Student also demonstrated delays in self-help skills as well as self-
stimulatory behaviors stereotypical of autism, such as wiggling her fingers

4. During the four days Student and her mother were in Texas, the Woodall
Foundation provided Student with 32 hours of ABA therapy and provided Student’s mother
with intensive parent training. Student responded extremely well to the therapy, progressing
more in the four days than expected. Ms. Woodall recommended that Student receive at
least 30 hours per week of one-on-one direct ABA therapy services

5. Although the Regional Center did not agree to fund the 30-hour a week
program recommended by Ms. Woodall, it did contract with Coyne to provide approximately
12 hours a week of in-home ABA services to Student starting in September 2005. Except for
the number of recommended hours the Coyne services mirrored the recommendations made
by Ms. Woodall, Coyne provided a parent training component as well. Within a short time
after the Coyne services began, Student’s mother noted a marked improvement in Student’s
behavior and development.

6. The Woodall Foundation administered another set of assessments to Student in
December 2005. The assessment noted that in the four months or so that Student had been
receiving ABA services Student’s speech and language skills had progressed exceptionally
well, rising injust four months from profoundly severe to moderately severe.

7. Planning for Student’s transition from early start services to educational
services to be provided by the District occurred in the spring of 2006. Prior to the meeting,
Student was assessed by the District in the areas of psycho-motor development/perceptual
function, language/speech/communication development, cognitive functioning,

 

‘ His widow, Tracey Woodall, founded the Brent Woodall Foundation in his memory atter he was killed in
the World Trade Towers on September l |, 2001. Student’s mother was drawn to the website because she had
known Brent Woodall in college.

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social/emotional adaptive behavior, and health. Coyne also did its own psychological
assessment of Student about the same time the District conducted its assessments of her, as
part of the Regional Center’s ongoing provision of services to Student.5

8. Student’s initial lEP with the District was held on March 31, 2006. The IEP
team noted that Student was highly responsive to a structured environment, She was
beginning to show strong pre-academic skills (she was able to count to 12), and could answer
basic questions about herself and her fami|y, such as her name and her sister’s name.
However, the assessments indicated, and the IEP team agreed, that Student demonstrated
significant deficits in the areas of receptive, expressive and pragmatic language. Student
communicated primarily using one-word utterances and she often spokejargon and engaged
in echolalia.6 Although Student was approximately 34 months old at the time she was
assessed, the assessments indicated she had a vocabulary comprehension of a child between
the ages of 15 and 16 months At a level of between 20 and 21 months Student’s expressive
vocabulary was also significantly below her actual age level. Student also demonstrated
significant social/emotional deficits The lEP team noted that she felt overwhelmed in large
groups and would withdraw. Student continued to demonstrate fleeting and limited eye
contact, and was noted to withdraw during group activities with peers The IEP team also
noted that Student’s diagnosis of autism caused the indicated delays in communication and
social skills and that Student was currently unable to acquire new skills through observation
or group instruction,

9. As a result of Student’s assessments and discussions with the IEP team on
March 31, 2006, the District offered Student the following placement and services:
placement in a District special day class for 240 minutes a day, 120 minutes of which would
be individualized direct instruction; individualized direct instruction for an additional two
hours per day, five days a week; speech and language services three times a week for 30
minutes each session; and occupational therapy/speech group one time a week for a 45-
minute session. The District also proposed up to 25 hours of consultation between Coyne
and District staff to transition Student’s ABA program to the District. Student’s parents
agreed with the lEP team’s determination of Student’s present levels of performance, and
with most of the goals developed for her. However, they did not agree with the District’s
proposed placement and proposal for provision of ABA services Specifical|y, Student’s
parents believed that Student did not belong in a SDC and believed that Coyne should
continue providing ABA services to Student in their home.

10. Coyne referred Student’s parents to the Hanna Fenichel preschool. Hanna
Fenichel is a community preschool serving typically developing preschool students The
state of Califomia has not certified it as a non-public school (NPS). Student’s parents were

 

5 On April 2l, 2006, the Regional Center found that Student continued to be eligible for its services

" American Heritage Dictionary defines echolalia as the immediate and involuntary repetition of words or
phrases just spoken by others oRen a symptom of autism.

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very impressed by the school and decided that they would enroll Student there beginning in
the fall of 2006. They also filed a due process complaint against the District based upon their
disagreement with the placement offered by the District. The parties settled the due process
complaint in the summer of 2006. By the terms of the settlement, which covered the 2006-
2007 school year, Student received a total of 25 hours a week of ABA services to be
provided by Coyne. The 25 hours consisted of 19 hours a week of direct instruction in
Student’s home and six hours per week of a one-on-one aide for Student while she attended
Hanna Fenichel two days a week. The settlement agreement also provided for supervision of
the ABA program at home and at Student’s preschool. Additionally, Student received two
45-minue sessions of speech and language therapy at the District preschool site as well as an
hour a month of occupational therapy consultation between Student’s mother and a District
occupational therapist. At hearing, the parties did not enter into evidence this settlement
agreement. lt is also unclear from the testimony at hearing exactly who funded the
placement and services

l 1. After signing of the settlement agreement, Student’s parents had little contact
with the District until February 16, 2007, when Student’s IEP team first met to begin the
process of developing the IEP for Student’s 2007-2008 school year. The lEP team held
meetings on February 16, 2007, May l l, 2007, and June 13, 2007. lt is the offer made to
Student by the District as a culmination of these meetings the events leading to that offer,
and observations conducted of Student to help the District determine its offer, which form
the basis of the complaints that are at issue in this hearing.

Procedural Violatz'ons That May Constilule a Denial of FA PE

12. A school district must comply both procedurally and substantively with the
IDEA. While not every procedural flaw constitutes a denial of FAPE, procedural flaws that
inhibit a student’s right to receive a FAPE, significantly inhibit a parent’s opportunity to
participate in the IEP process, or cause a deprivation of educational benefit to a student will
constitute such a denial. A school district may commit a procedural violation of the lDEA if
it comes to an IEP meeting without an open mind and several options to offer for discussion
with all team members or refuses to consider the input of a student’s parents or other
relevant data her parents may have. A district fulfills its obligation in this regard if it does
suggest different potential placements and discusses and considers any suggestions and/or
concerns a parent has concerning the child’s placement. However, participation by the
parents must not be mere form over substance; participation in the lEP process must be
meaningful.

13. A school district is also required to make a formal written offer that clearly
identifies its proposed program. However, it is proper for district lEP team members to
discuss among themselves the parameters of programs available to a student and to write a
draft of a program they may want to discuss with a student’s parents Furthermore, parents
do not have a right to their choice of placement or choice of service providers as long as the
district’s choice of program or providers offers a FAPE to the student.

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Predetermina!ion of Educational Placemem

14. Student contends that the District had already predetermined to place her in a
special day class at its preschool before it participated in the lEP meeting on May 1 1, 2007,
and therefore denied her parents an opportunity to participate in the lEP process, resulting in
a denial of FAPE to her. Student bases her assertion on conversations Student’s mother had
with District Director of Pupil Services Mary Ellen Nest prior to the May 1 1 meeting, on the
fact that District witnesses acknowledged having discussed Student’s IEP before the May 1 1
meeting, and based upon Student’s assertion that the District refused to consider continued
placement for her at Hanna Fenichel.

15. The lEP team considered the meeting the parties held on February 16, 2007, to
be a “pre-meeting.” The main purpose of the meeting was to determine which assessments
the District would administer to Student and to arrange observations of her. At this meeting,
the District prepared an assessment plan for Student that included formal assessments in the
areas of speech and language and vision, observations of Student and a review of her records
by a District behavior specialist and school psychologist, and by an outside evaluator.
Student’s mother signed agreement to the assessment plan on February 19, 2007; she later
added that she was also requesting a Social/emotional and adaptive behavior assessment.

16. Jodie Reise, a behavior specialist for the District, observed Student for an hour
at her preschool on March 13, 2007. At school, Ms. Reise observed that Student would play
alongside her peers but did not initiate play herself. Her one-on-one aide facilitated all her
interaction with peers Student did not comply with her teacher’s prompts to go to circle
time; she responded when prompted by her aide. Ms. Reise observed that Student did not
respond to questions specifically on topic and did not always use complete sentences in her
responses However, Student was quiet and attentive during the circle time, Ms. Reise also
observed that Student was able to choose activities independently and remain engaged in
them. Ms. Reise’s observation notes did not make any recommendations about placement or
related services for Student.

17. Ms. Reise then observed Student at Student’s home for two hours on March
23, 2007. Ms. Reise noted that Student engaged in a significant amount of imaginary play at
home, used pronouns in her speech, and answered “who, what, where” type of questions
when asked by her one-on-one ABA aide who was giving Student a session during Ms.
Reise’s observation. The aide also worked with Student on recalling detailed information.
Ms. Reise noted that Student knew all the upper case letters and was working on learning the
lower case letters Student was attentive while listening to a story and answered questions
about it that her aide posed to her. Ms. Reise observed that Student could rote count to 15,
could answer social questions such as ones about her parents’ names and could identify
some words by sight. Ms. Reise’s observation notes of Student while at Student’s home also
did not make any recommendations concerning Student’s educational placement or provision
of related services

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18, Dr. Laura Schreibman, a distinguished professor at the University of
Califomia, San Diego, who is an autism specialist and was the District’s outside evaluator,
observed Student for approximately two hours at her preschool on March 22, 2007. School
psychologist Sharon Loveman observed Student for an hour and a half at her school on Apri|
3, 2007, and for an hour and 45 minutes at Student’s home on April 19, 2007. Ms. Reise and
Ms. Loveman hand-wrote their observations but did not make any specific recommendations
concerning Student in their observation reports Dr. Schreibman reduced her observations to
a letter written to Ms. Nest in which she also gave her recommendations concerning what she
considered an appropriate placement for Student. Dr. Schreibman, who had also observed
both a District preschool SDC and a District general education preschool class, found that the
District’s general education class was then beyond Student’s capabilities She also found
that behaviors she observed in Student counseled against continued full inclusion of Student
in her present placement at Hanna Fenichel. Rather, Dr. Schreibman recommended a
placement for Student in the District’s SDC, which also enrolled a number of typically
developing peers along with the special education students The District provided copies of
all three of these reports to Student’s parents

19. District School psychologist Sharon Loveman observed Student for two and a
half hours at her preschool on Apri| 3, 2007. She observed that Student’s general demeanor
was relaxed, happy, engaged and alert. However, Ms. Loveman also noted that Student had
limited interaction with her peers and, while she played alongside them, Student did not
mimic their play and seemed unaware of her peers’ shift to play that is more complex. Ms.
Loveman noted that Student’s response to her instructor’s attempts to get Student to initiate
interaction with her peers was limited, With regard to Student’s use of language, Ms.
Loveman noted that Student expressive language was limited, although Student did repeat
spontaneously words that she overheard and was able to express emotion and intent. Ms.
Loveman also observed that Student was attentive during circle time, was able to choose
books to look at and knew that the book was supposed to be read page by page. Student also
appeared to understand the routines in the classroom, and did not have difficulty transitioning
between activities in the class or from classroom to playground. Ms. Loveman did not make
any recommendations in her observation notes concerning placement or services for Student.

20. Ms. Loveman observed Student at Student’s home for an hour and forty-five
minutes on Apri| 19, 2007. Ms. Loveman observed that Student sought out variation and
new learning experiences at home, refusing to do tasks she had already mastered. Student
had a high stamina for work and play and was socially engaged and curious during the home
observation, Ms. Loveman observed that Student had a strong memory for previously
acquired information and demonstrated an extensive and varied vocabulary as it related to a
dinosaur book. Ms. Loveman noted that Student at times did take a lot of time to respond to
questions but that Student’s expressive language did include the use of adjectives and
pronouns She noted (as later confirmed by Ms. Reise) that Student’s verbal expression was
significantly more spontaneous at home than at school. Ms. Loveman’s observation notes of
Student at home did not include any recommendations concerning placement or services for
Student.

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21. Afier receiving Dr. Schreibman’s letter, as well as the observations of Ms.
Loveman and Ms. Reiss, Ms. Nest discussed Dr. Schreibman’s recommendations with both
Ms. Loveman and Ms. Reiss, as well as with District speech and language pathologist Lisa
Ryder. Her conversations with each took place separately. Ms. Nest asked each if she
believed that Student should remain in her present placement at Hanna Fenichel. Each
expressed reservations about the placement and the level of prompting Student was receiving
at the school, as observed by Ms. Loveman, Ms. Reiss, and Dr. Schreibman. While Ms. Nest
and the other staff members discussed supports and services Student was presently receiving,
and what possible supports and services they each believed Student needed, they never
discussed or compared program costs, and never discussed whether the District should refuse
to consider continuing Student’s placement at Hanna Fenichel. Ms. Nest did not direct any
of the staff members to take a particular position on placement nor did she direct that they
refuse to consider a placement at Hanna Fenichel.

22. Coyne also prepared a progress report regarding Student, dated May l, 2007,
in anticipation of Student’s annual lEP. The report recommended that Student continue to
receive 25 to 30 hours a week of ABA-related services divided between Student’s home and
preschool. Most significantly, Coyne recommended that Student’s education be in a fully
included general education class rather than in a SDC, in direct contradiction to the
recommendation made by Dr. Schreibman.

23. Student’s mother agreed with Coyne’s recommendations Since they were
contrary to the recommendation of Dr. Schreibman, who Student’s mother knew to be a well-
known authority on autism, Student’s mother became concerned about the conflicts in the
two recommendations and how the District would react to the recommendations made by
Coyne. She was very concerned that the District would not consider Coyne’s
recommendations and that the District would refuse to consider placing Student at Hanna
Fenichel for the upcoming school year. She therefore telephoned .lane Whitney, her
educational consultant from the Regional Center, and asked her to call Ms. Nest to inform
her of what the Coyne report recommended so that there would be no surprises at the lEP
meeting, which had recently been scheduled for May 1 1, 2007.

24. Ms. Whitney telephoned Ms. Nest per the request of Student’s mother. Ms.
Whitney explained what was in the Coyne report, stating that the family wanted to have a
streamlined lEP meeting without surprises Ms. Nest agreed that there might be
disagreement at the IEP meeting since the parties’ respective consultants had given contrary
recommendations Ms. Nest did not make any negative remarks about Student’s mother to
Ms. Whitney; their conversation was brief and Ms. Nest thanked Ms. Whitney for sharing the
family’s information concerning the Coyne recommendations with her.

25. After the phone call from Ms. Whitney, Ms. Nest was convinced that
Student’s family was going to insist on maintaining Student’s placement at Hanna Fenichel
with the same level of Coyne services and would refuse to consider placement in a District
classroom, Based upon her conversation with Ms. Whitney, Ms. Nest telephoned Student’s
mother. They had a long discussion about the upcoming lEP meeting and about Dr.

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Schreibman’s recommendation that Student be placed in the District’s SDC, Ms. Nest told
Student’s mother that she agreed with Dr. Schreibman’s recommendation for a SDC
placement although she was not specific during this conversation as to why she agreed with
it. This prompted a discussion between the two about the concept of placement in the least
restrictive environment, and the opinion of Student’s mother that an inclusive placement was
more appropriate for Student. Ms. Nest commented that she wanted the IEP meeting to be
non-adversarial and they should “agree to disagree.” Ms. Nest ended the conversation by
stating that if there was no agreement at the lEP meeting the parties could meet afterward
and perhaps try to mediate their differences Ms. Nest did not discuss what opinions other
District staff had expressed concerning possible placement for Student.

26. Student’s mother believed that Ms. Nest’s conversation with her indicated that
the District would not consider a placement at Hanna Fenichel. She called Ms. Whitney to
voice her concerns and, ultimately, wrote to the District’s Superintendent to express her
concern that the District had predetermined Student’s placement for the following school
year. The Superintendent never responded to the letter. Ms. Nest did not discuss options for
Student’s placement with the Superintendent.

27. Concemed about the tenor of the conversations between Student’s mother and
Ms. Nest and the concern of Student’s mother that the lEP meeting would be a charade, Ms.
Whitney contacted Ms. Loveman to set up a meeting prior to the scheduled lEP meeting.
Ms. Loveman agreed that a meeting would be helpful to try to restore trust and confidence
between Student’s mother and Ms. Nest, Ms. Loveman hoped that this meeting would make
the following day’s IEP meeting more productive.

28. The meeting took place at the District’s offices on May |0, 2007, and lasted
approximately 30 minutes Present were Student’s mother, Ms. Whitney, Ms. Loveman, Ms.
Ryder, and Ms. Nest, Student’s mother expressed her concerns about the District following
Dr. Schreibman’s recommendations and concerns that the District would insist that Student
attend the District’s SDC the following school year. According to Ms. Whitney, Ms. Nest
was defensive about the District’s programs and her staff and stated that she wanted to
ensure that Student’s mother did not criticize the staff or their programs during the IEP
meeting the next day, However, Ms. Nest also listened to what Student’s mother had to say
and did not state that she had been directed by her superiors to refuse to consider anything
other than a District placement for Student. Nor did Ms. Ryder or Ms. Loveman express an
opinion at this meeting about the benefits or disadvantages of any particular placement for
Student. The meeting did not resolve any of discord between Student’s mother and Ms. Nest
nor did it alleviate any of the concerns Student’s mother had that the District had
predetermined Student’s placement for the upcoming school year.

29. The IEP team meeting took place as scheduled on May l 1, 2007. Present at
the meeting were Student’s mother, Coyne & Associates ABA supervisor Jessica Komeder,
Hanna Fenichel school Director Sarah Hillier, vision specialist Amy Nangel, and Student’s
attorney Maureen Graves, Also present were Regional Center educational consultant Jane
Whitney, District school psychologist Sharon Loveman, Child Development Center Director

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Suzanne Blackwood,7 speech and language pathologist Lisa Ryder, behavior specialist Reise,
District Director of Pupil Services Mary Ellen Nest, District preschool SDC teacher Tracy
A|lison and occupational therapist Karen Peterson. District consultant Dr. Laura Schreibman
joined the meeting about an hour after it started.

30. The team reviewed Student’s present levels of performance (the review had
begun during the previous meeting on February 16, 2007) and Student’s goals Student’s
mother had previously met with Ms. Ryder, the speech and language pathologist, to draft
speech and language goals The vision specialist had not been able to observe Student prior
to this IEP meeting and wanted to do both the observation of Student and specific vision
assessments of her, to which Student’s mother agreed. There was no disagreement between
the members of the lEP team regarding Student’s present levels of performance, the
significant progress Student had made during the school year, or what Student’s goals for the
next year should be.

31. The IEP team spent a considerable amount of time during the meeting
reviewing Coyne’s progress report of Student and the observations of Student by Ms. Reise,
Ms. Loveman, and Dr. Schreibman. Hanna Fenichel Director Ms. Hillier reviewed Student’s
progress at the preschool and the impressions the Hanna Fenichel staff had of Student. The
meeting lasted almost three hours; much the meeting discussion focused on Student’s
progress, present abilities and, significantly, what type of placement Student needed in order
to make further progress in her education. Student’s mother spoke for very long interludes
on what she saw as Student’s progress, abilities and needs for the upcoming school year.

Ms. Reise and Ms. Loveman discussed their observations of Student and their concerns that
Student was not able to initiate social interactions at school and their concerns that Student’s
expressive language at school continued to be underdeveloped.

32. After Dr. Schreibman arrived at the meeting, the team focused on her report
and recommendations Dr. Schreibman was concerned that Student was still exhibiting
perseverating behaviors For example, she had observed Student’s fixation with one type of
play and her lack of spontaneous play with other students Dr. Schreibman also expressed
her concem, as indicated in her observation report, that Student was not directing language at
another person; Dr. Schreibman had observed Student talking to the wall. Dr. Schreibman
believed that these behaviors of Student needed to be extinguished, and believed that a SDC
was the best environment for doing so. She strongly felt that Student should not continue in
a fully included classroom. Rather, Dr. Schreibman believed that Student’s appropriate
placement was in the District’s preschool SDC, although she anticipated that Student would

 

7 The Child Development Center (CDC) is a semi-autonomous unit within the District. lt is a self-
supporting fee-for-services preschool open to the public, There is no requirement that a student must be a District
resident to attend the CDC, CDC employees are District employees although the CDC is hinded from student
enrollment fees The District’s general education preschool classes are in the CDC, The District’s preschool SDC
classes however, are operated outside the CDC under direct District control. Children with special education
eligibility whose lEP teams place them in a CDC class do not have to pay the enrollment fees

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soon be able to transition to a general education class if it had a small number of students in
it. Dr. Schreibman did indicate, however, that she believed a possible placement for Student
could be a combination of the Districts’ SDC and the Hanna Fenichel class.

33. Dr. Schreibman’s comments prompted a long discussion between the lEP team
members about the benefits and drawbacks of both the District’s SDC classroom and the
Hanna Fenichel classroom, Unfortunately, at the time of the IEP meeting, no one from the
District had been able to observe the four-year-old class at Hanna Fenichel where Student
would attend the following school year was she to be placed there. Ms. Hillier discussed the
differences between the three-year-old class and the four-year-old class: students attended
the latter five days a week rather than two days a week, and the four-year-old class was less
play-based and focused more on kindergarten readiness than did the three-year-o|d class

34. There was a marked disagreement between the parties as to the import of the
observations of Student by the District observers Ms. Loveman, Ms. Reise, and Dr.
Schreibman believed that the behaviors they observed of Student at school were significant
and could best be addressed and extinguished in a SDC setting, although they did see many
of the benefits of the Hanna Fenichel classroom. Ms. Reise specifically discussed the
benefits of combining a structured classroom during the first portion of Student’s day with an
inclusive classroom for the second half of her day. Conversely, Student’s mother, her
attomey, the Coyne representative, Ms. Whitney, and the Hanna Fenichel Director, all
believed that Student had demonstrated significant progress during the year. They believed
that Student’s interactions with peers was increasing, that she was requiring less prompting
from her aides that her language abilities were increasing, and that she was functioning well
in the general education inclusive environment at Hanna Fenichel.

35. Dr. Schreibman had to leave the lEP meeting before it concluded, Aher she
left, the team members spent the majority of the remaining meeting time reviewing and
constructing Student’s goals and objectives The IEP team agreed on Student’s goals
However, the lEP team did not reach any decision regarding Student’s educational placement
for the next year and did not spend more than incidental time discussing Student’s need for
continued ABA therapy. The District did not make an offer of placement and services at the
meeting. Rather, the team agreed that the District would submit a written offer of placement
and services for Student to her parents afier the meeting, based upon the agreed-upon goals
and objectives rather than meeting in person later,

36. Based upon advice of legal counsel, the District decided to hold another
formal lEP team meeting to present its offer of placement and services to Student’s mother
rather than to submit the offer by mail. The meeting took place on June 13, 2007. Present
were Student’s mother and her attorney Ms. Graves, Dr. Len Levin (the Coyne C|inical
Director), Jessica Korneder from Coyne, Ms. Whitney, Ms. Loveman, Ms. Blackwood, Ms.
Ryder, Ms. Allison, Ms. Nest, and .lonathan Read, attorney for the District. No one from the
team invited Dr. Schreibman to the meeting.

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37. After discussion of the need to complete Student’s vision assessment, Ms.
Nest reviewed the IEP notes from the previous meeting, The team then reviewed the special
factors page of the IEP document, and reviewed the accommodations and supports that
Student required in a classroom in order to access her education. The team then discussed
Dr. Schreibman’s recommendations for a more structured classroom placement, such as the
District’s SDC in comparison to the recommendations made by the Coyne representatives
Student’s mother pointed out that there was no dispute between the parties that certain
interventions should take place to redirect Student’s inappropriate behaviors Rather, the
dispute concerned in what type of setting those interventions should occur.

38. The District then made its offer of placement and services which Ms. Nest
presented. The District made its offer based upon the input of Dr. Schreibman, the
observations of Ms. Loveman and Ms. Reise, Coyne’s progress report, and input from
Student’s mother and educational consultant, Based upon all discussion and review of all the
reports the District offered a placement to Student. The offer consisted of placement of
Student for two hours in the morning in the District’s SDC on its preschool campus for four
days a week. Student would then transition to a District general education preschool class,
where she would spend two hours a day, four days a week, accompanied by a one-on-one
aide. The District also offered to provide Student with one-on-one ABA therapy at the
District school site for two hours a day, five days a week. The District also offered Student
two 45- minute sessions a week of speech and language therapy, one 60-minute session of
group social skills a week, and one 60-minute occupational therapy consultation per month.
The District noted that the SDC was actually composed of approximately seven special needs
children and five typically developing children so that Student would be educated with
typical peers for most of her day,

39. The District’s offer differed from the offer made to Student the previous year
in a number of ways Foremost, it divided Student’s time in a classroom equally between a
SDC and a general education class lt provided for a one-on-one aide to accompany Student
in the general education class The offer also included a group social skills class that the
District had not offered the previous year. The District’s offer took into consideration the
recommendation of its consultant, Dr. Schreibman and staff members Ms. Loveman and Ms.
Reise, that Student required the structure of a SDC for at least part of her day, lt also took
into consideration the recommendations of Student’s mother, the Coyne representatives and
Ms. Whitney, that Student was ready for inclusion in a general education setting. The offer
did not consist of a full placement of Student in an SDC; rather, the District based its offer
upon consideration of all recommendations concerning Student. District staff sincerely
believed that they considered all input and considered all of Student’s needs and believed
that District classrooms could meet those needs8

 

3 The District’s offer of speech and language services occupational therapy consultation, and group social
skills session, is not at issue.

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40. Although Ms. Nest’s comments during her conversations with Student’s
mother apparently contributed to the tension between the parties the weight of the evidence
does not support Student’s contention that the District predetermined Student’s educational
placement. Ms. Nest may have had her own idea of what was appropriate for Student, as
each team member, including Student’s mother, may have had, However, there is no
evidence that Ms. Nest’s superiors directed her to offer a specific placement or to refuse to
consider Hanna Fenichel.9 Nor does the weight of the evidence support an inference that
Ms. Nest pressured her staff to make a specific recommendation or to refuse to consider any
placement, including one at Hanna Fenichel. The team spent considerable time at the lEP
meetings reviewing all recommendations hearing everyone’s comments considering the
benefits and drawbacks of each type of placement, and discussing Student’s needs The
District made its offer based upon all these consideration, not on a preconceived notion of
what Student needed.

41. Especially credible was the testimony of school psychologist Ms. Loveman.
By the time she testified at the hearing, Ms. Loveman had retired. Therefore, any bias or
loyalties that may be argued to influence staff members presently employed by the District
could not be attributed to Ms. Loveman. Additionally, and significantly, Ms. Loveman had,
and has a long-term personal relationship with Student’s family, extending to when
Student’s mother was a small child. Ms. Loveman therefore had no reason to temper, color,
or change her recommendations to please the District at the lEP meetings or any reason to
color her testimony at hearing. lf anything, her long-term personal relationship with
Student’s family would argue for an inference that Ms. Loveman would be more apt to want
to skew her recommendations toward the desires of Student’s family.

42. Ms. Loveman, however, gave credible testimony that her recommendation that
Student required a SDC placement for at least a portion of her school day, was based upon
her observations of Student as corroborated by the observations of Ms. Reise and Dr.
Schreibman. Ms. Loveman specifically stated that the District’s offer was not
predetermined The weight of the evidence supports this contention with regard to the
District’s offer of educational placement for Student.

43. Neither does the evidence support Student’s contention that the District failed
to consider input from Student’s mother, from Coyne, or from any other source, before it
made its offer of placement. The fact that Ms. Nest met with different staff members to
discuss their observations and a possible recommendation for Student does not lead to the
conclusion that the District as a whole had predetermined what the placement should be.
First, not all District IEP team members attended the meetings Second, the purpose of the
meetings was to discuss the different observations staff made of Student in preparation for

 

° As previously stated, Hanna Fenichel is not a cenitied NPS. However, there was no mention by the
District at any of the lEP meetings or testimony by District staff at the hearing that the lack of NPS status was the
reason the District did not offer to place Student there.

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the lEP meeting. Third, the evidence indicates that District team members did not all
initially have the same recommendation for placement and that a District did not develop a
consensus concerning placement for Student until after the IEP meeting held May ll, 2007.
The fact that the District did not agree with Student’s request for placement at Hanna
Fenichel merely reflected that the parties had a good faith disagreement regarding the
appropriate placement, not that the District predetermined Student’s proposed placement and
was not willing to consider her mother’s request.

44. The weight of the evidence substantiates the District’s position that Student’s
mother, educational advocate, preschool Director, and ABA providers were able to
participate meaningfully in the IEP process The District team members fully considered all
comments and recommendations at all lEP meetings these individuals attended. They all
asked questions gave their opinions voiced their concems, and gave general input to their
belief that Student did not belong in a SDC placement. There is no credible evidence, other
than the fact that the District ultimately offered a placement at one of its own schools that
the District prevented Student or her representatives from meaningfully participating in the
IEP process

45. Furthermore, the weight of the evidence does not support the inference that the
decision to offer a District placement rather than a placement at l-lanna Fenichel, or any other
private schoo|, was the result of a District-wide policy against private placements Likewise,
Student offered no evidence that any District administrator or policy-maker higher up the
school hierarchy than the District lEP team members was dictating placement decisions for
special education students or for Student in particular, Nor did Student present any evidence
that cost factors were the driving force behind the placement offer made by the District. ln
sum, the only tangible evidence that Student presents to support her predetermination claim
is the fact that the District offered Student a placement at a District elementary school rather
than at Hanna Fenichel. However, the fact that the District ultimately believed that its
program offered a FAPE to Student and that, therefore, it need not offer Student a placement
at a private preschool does not compel the conclusion that the offer was predetermined.

46. Student has failed to produce persuasive evidence that the District
predetermined her educational placement prior to the June 13, 2007 lEP team meeting. No
procedural violation occurred.

47. The analysis concerning the District’s offer to Student of ABA therapy for 10
hours a week at the District school site, results in the same conclusion concerning whether
that portion of the District’s offer was predetermined A review of the record of the lEP
team meetings‘0 indicates that there was meaningful discussion of Student’s need for
intensive one-on-one ABA therapy and discussion between the parties as to where the
therapy should occur. The parties specifically discussed the recommendations made by

 

‘° The AL.I listened to the full recording of both meetings

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Coyne. Student’s mother stated that Coyne recommended that Student continue to receive a
total of 30 hours a week of ABA servicesll She clarified that the ABA services at home
would significantly decrease the following school year while there would be a corresponding
increase in school ABA services since the time an ABA aide would accompany Student to
school would increase.

48. ln response to the concerns raised by Student’s attorney and by her mother,
District school psychologist Sharon Loveman stated that she felt Student was ready to have
her discrete trial training moved from the home to school. There is no evidence that the
District attempted to foreclose Student’s mother or attorney from voicing their opinions or
concerns about what they considered appropriate for Student’s ABA therapy and no evidence
that discussion was stifled. To the contrary, Student’s mother spent considerable time
voicing her opinion as to what she thought was proper level and type of services Although
Student’s mother also voiced a strong opinion at the IEP meeting that the District had
predetermined Student’s ABA services the weight of the evidence does not support this
contention. District staff gave reasoned explanations to Student’s mother as to why they felf
Student’s ABA services should be moved from the home to school. There is no compelling
evidence that the recommendation to so was based on a District policy against in-home
services or that school officials higher up in school hierarchy had instructed either Ms. Nest
or other school staff that in-home services should not be considered,

49. Both Ms. Loveman and Ms. Reise had observed Student at home during ABA
therapy sessions Both noted that Student’s language was more expressive and better
grammatically at home. Both noted to the lEP team that Student’s social skills and responses
to her environment were stronger at home than at skill. ln addition, both believed that
because Student’s skills were stronger at home and that because she was not generalizing her
skills from home to the school environment, the better course of action was to provide
Student’s ABA services at school.

50. The core of the disagreement with regard to the ABA services at the IEP
meeting therefore was where the services should be delivered and by whom. The District’s
offer of 10 hours of one-on-one ABA services corresponded substantially to the 12 hours
Student’s mother stated that Coyne would be providing based upon Coyne’s
recommendation The District listened to the arguments advanced by Coyne, Student’s
mother, and Student’s attorney that ABA services be continued in Student’s home. There
simply was a disagreement as to whether in-home services were necessary to meet Student’s
needs That the District was not persuaded by the arguments advanced by Coyne and
Student’s mother and attorney does not mean that the District predetermined that it would
only offer ABA services at the school site.

51 . The weight of the evidence therefore fails to support Student’s contention that
the District either predetermined the amount and location of ABA therapy offered to Student

 

" Coyne’s report actually recommends a total of 25 to 30 hours of total ABA services

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at the June 13, 2007 lEP team meeting and or made the offer without considering the input of
Student’s mother or the Coyne representatives There was thus no procedural violation of
Student’s right to a FAPE.

Adequacy of the District ’s Offer ofPlacemem and ABA Services

52. A school district provides a FAPE to a student if it designs its program or
placement to address the student’s unique educational needs and provides a program and
services reasonably calculated to provide some educational benefit to the Student in the least
restrictive environment, A school district is also required to provide a student with special
needs a program, including support services designed to address the child’s unique needs
lf the school district’s program met the substantive factors then it provided a FAPE, even if
the student’s parents preferred another program and even if his or her parents’ preferred
program would have resulted in greater educational benefit to the student than the program
offered by the district. The district’s program must provide some educational benefit; it need
not maximize the student’s potential.lz

Student ’s Um‘que Needs

53. The parties do not dispute that Student does not have weaknesses in the area of
cognition, where assessments indicate that she is in the normal range of mental development
for her age. Rather, Student’s weaknesses are in the areas of socialization and expressive
language, She continues to demonstrate traits typically associated with autism. She still
needs prompting to focus on topics and still needs prompting to interact with other children;
Student does not always engage with other children spontaneously in the classroom.
Student’s expressive and pragmatic language in the classroom is still below normal
developmental level although her language is much more expressive when she is conversing
in her home. Student still requires the assistance of a one-on-one aide in the classroom to
prompt Student to follow instructions, to redirect her activities or inappropriate behavior, and
to assist her in initiating interactions with peers Student also continues to show anxiety
when she is in large group settings such as restaurants and church Sunday school, requiring
family support and assistance to assist her in functioning in these environments

Inadequa!e Offer of Intensive ABA Therapy Services
54. Student contends that she requires approximately 17 hours of in-home ABA

therapy. She asserts that the 10 hours per week of school-site ABA therapy offered by the
District is insufficient to provide her with meaningful educational benefit. Student contends

 

'2 Contrast this standard with the applicable standard under Califomia’s Lanterman Developmental
Disabilities Services Act (Welf. & lnst. Code, § 4501 et seq.) which states that “lt is the intent of the Legislature that
regional centers assist persons with developmental disabilities and their families in securing those services and
supports which maximize opportunities and choices for living, working. learning, and recreating in the community.”
(Welf`. & lnst. Code, § 4640.7.)

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the program should have been offered in her home, which is a more naturalistic setting for a
four-year-old child. She also contends that the program offered to her is not scientifically
based and supported by peer-reviewed research as required by the reauthorized lDEA. The
District contends that Student has not met her burden of proving that the program it offered
will not provide at least some educational benefit to her.

55. The weight of the evidence does not support Student’s contentions First,
Student presented no evidence, either documentary or through testimony at hearing, that
Student needs some 17 hours a week of one-on-one ABA services lndeed, .lessica
Komeder,13 the Coyne representative supervising Student’s ABA program, indicated at the
lEP meetings and at hearing that she believed that Student continued to require a total of 30
hours of ABA therapy. She recommended that the 30 hours be divided between provision of
one-on-one aide services at Student’s school for the time Student participated in a classroom,
and about 12 hours of intensive ABA therapy in Student’s home. With regard to the number
of ABA hours needed by Student, the District’s offer therefore is very close to that
recommended by Ms. Komeder. The District’s offer includes 10 hours of one-on-one ABA
therapy and one hour of a facilitated group social skills session (which Student is not
presently receiving) for a total of 1 1 hours There is simply no evidence that Student will not
be able to access her education or will be unable to progress in the curriculum with one less
hour of services that that recommended by Ms. Komeder. While additional hours of ABA
certainly might provide additional benefit to Student, the District is not required to maximize
her potential.

56. Additional support for the District’s position that its offer of 10 hours of ABA
is sufficient to meet Student’s unique needs is found in the documentary and testimonial
evidence Student provided in support of her contention that she does not require placement in
a SDC. As will be discussed in more detail below, Student presented many witnesses whose
testimony all corroborate the fact that Student has progressed extraordinarily well in the two
years she has been receiving intensive ABA therapy. Her autistic-like behaviors have
significantly decreased, and her receptive and expressive language abilities have increased.
Student’s mother wrote in the lEP notes that Student ofien uses complete sentences to ask for
things to comment on her surroundings to sing songs to communicate with others and to
describe how she is feeling. Student’s mother also noted that in a year’s time, Student had
become another person. Her autistic-like behaviors had been extinguished to a good extent,
Student interacted with peers in and out of school, and she could now engage in long
sessions of imaginative play. Ms. Woodall corroborated the observations of Student’s
mother, stating at hearing Student had made extreme progress Dr. Joseph l\/lorrow,14 one of

 

'3 Ms. Komeder has a Masters degree in Behavior Analysis from Westem Michigan University, and is a
Board Certified Behavior Analyst. She has been working at Coyne for about two years and is one of its Regional
Directors. Ms. Korneder has almost 10 years of experience working in the area of ABA, with increasing
responsibility over the years for supervision of ABA programs

" Dr. Morrow obtained a Doctorate degree from Washington State University in experimental
psychology. He has spent over forty years working in the area of behavior analysis He is a professor emeritus at

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Student’s experts who observed her in her home, stated that he might not be able to identify
Student as a child with autism if not told in advance of her diagnosis These comments about
Student do not lead to a conclusion that she requires more than 10 hours of ABA therapy in
order to obtain benefit from her education

57. There is more dispute as to where Student’s ABA services should take place.
Dr. Bailey, ‘5 Dr. Levin,‘6 Ms. Korneder end Ms. woodall, eli believe that student’s ABA
services should occur in the home, which they believe is the natural setting for a child of
Student’s age. They believe that Student needs to learn at home and then generalize this
knowledge to other settings such as school. Student points to literature showing that autistic
students received the most benefit from in-home programs However, as discussed above,
the standard is not where a student will benefit the most from a particular service. Rather,
the legal standard is whether a student will obtain educational benefit from what a district is
offering. ln this case, the evidence supports a finding that Student will obtain educational
benefit from an ABA program at a District school site,

58. Ms. Reise, the District’s behavior specialist, and Ms. Loveman, the District’s
school psychologist, both observed Student in her preschool and in her home. Both observed
that Student’s language abilities and social interactions were much more in evidence at home
than at school. Ms. Loveman noted that Student was much more spontaneous and
independent. Because of the discrepancies between Student’s demonstrated abilities at home
as compared to school, Both Ms. Loveman and Ms. Reise believe, and the evidence
substantiates that Student will benefit from moving her ABA instruction to the school
setting. The evidence supports the District’s contention that Student will benefit from
learning to generalize her abilities to the school setting rather than continuing to concentrate
on the home setting where she shows greater competency. This is especially true since the
stated goal of Student’s mother, her experts and Coyne is to prepare Student for full-
inclusion in a general education Kindergarten for the 2008-2009 school year.

59. Student also contends that the ABA program offered by the District is not
scientifically based or supported by peer-reviewed research. First, the District in its closing
brief correctly points to the United States Department of Education’s commentary to the new
federal regulations implementing the reauthorized lDEA. That commentary states “[T]here

 

Califomia State University, Sacramento, a licensed psychologist, and a Board Certified Behavior Analyst. Dr.
Morrow founded, and is presently the president of`, Applied Behavior Consultants, a certified NPS for students with
autism, which also provides ABA therapy to children and toddlers.

'5 Dr. Bailey received her Doctorate degree in clinical psychology and developmental psychology from the
University of Southem Califomia in 2004. She is presently an assistant professor at Califomia State University,
Fullerton. She is not a licensed psychologist of Board Certified Behavior Analyst. although she has significant
training and education in psychology and learning disabilities

"’ Dr. Levin, Coyne’s Clinical Director, received his Doctorate degree in Clinical Psychology from the

State University of New York in 1996. He has a significant amount of experience working with autistic children,
and a number of publications to his credit.

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is nothing in the Act to suggest that the failure of a public agency to provide services based
on peer-reviewed research would automatically result in a denial of FAPE. The final
decision about the special education and related services and supplementary aids and
services that are to be provided to a child must be made by the child’s lEP Team based on
the child’s individual needs.” (71 Fed.Reg. 46665 (August 14, 2006).)

60. More significantly, there is no evidence that the District proposed using
behavioral instruction that differed significantly from that provided by Coyne. District
behavior specialist .lodi Reise credibly testified that the behavior program that she supervised
was based upon traditional ABA principles including the integration of discrete trial
training, pivotal response training, and intensive one-on-one instruction. As the District
points out, Dr. Levin and Ms. Korneder stated the methods used by Coyne were not based
solely on traditional discrete trial training principles

61. Dr. Schreibman corroborated the use of different methodologies to influence a
child’s behavior, stating, as did Dr. Levin, that different methods work with different
children. Dr. Schreibman, who was a student of Dr. O. lvar Lovaas17 at the University of
Califomia, Los Angeles, was a knowledgeable and persuasive witness who credibly testified
that researchers are constantly exploring new methods of behavioral analysis in order to
individualize treatment for autistic children. As Dr. Schreibman explained, interventions for
autistic children are upon applied learning theory, commonly referred to as ABA. However,
there are several strategies that have been researched and validated, all of which prove
beneficial to some children. These strategies include discrete trial training, pivotal response
training, incidental teaching, and the picture exchange communication. Dr. Schreibman
explained that ABA is a research technology, not a specific treatment. Rather, there are a
number of treatments that are included in the umbrella of behavioral intervention.

62. Dr. Schreibman further explained that research has determined that many
children do not respond well to discrete trial training, and that others do not respond to
pivotal response training. Therefore, a program must be developed to respond to the child’s
specific needs Dr. Schreibman is acquainted with Ms. Reise and believes that she is capable
of implementing an appropriate behavioral intervention program for Student.

63. Student provided significant evidence that the ABA intervention program she
receives from Coyne is excellent and that the service providers in particular Ms. Komeder,
are extremely well trained and qualified. Dr. Schreibman agreed that Coyne provides a
quality service. Student’s evidence also demonstrated that Coyne’s program is more
structured and better supervised than the District’s ABA program, that it keeps better
records and that its supervisor, Ms. Korneder, has stronger educational qualifications and
more behavior intervention experience than does Ms. Reise. However, the fact that Student’s

 

" Dr. Lovaas is the author of the seminal study of behavior analysis in autistic children, “Behavioral
Treatment and Normal Educational and intellectual Functioning in Young Autistic Children.” (Joumal of Consulting
and C|inical Psychology (1987).)

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present program may be better than the one offered by the District does not mean that the
District’s program will not provide Student with a FAPE. The District need not provide the
best program; it only need provide a program that offers more than minimal educational
benefit to her. The weight of the evidence demonstrates that the District’s intensive one-on-
one ABA program will more than meet that standard.

64. ln sum, the weight of the evidence supports the District’s contention its offer
of 10 hours of intensive one-on-one ABA services provided to Student at the District’s
school site meets Student’s unique needs in the area of behavioral intervention. Student has
presented no compelling evidence that she will not receive some educational benefit from the
10-hour program offered by the District. She has not met her burden of proof to show that
the ABA program offered by the District is not based on appropriate ABA principles
Student has therefore failed to meet her burden that the District’s ABA program denies her a
FAPE.

Special Day Class offered by District

65. Student contends that the SDC at the District’s preschool does not incorporate
adequate ABA principles fails to include peers with compatible instructional needs and is
not the least restrictive environment for Student.

66. Student’s argument that the SDC fails to include peers with compatible
instructional needs is not supported by persuasive evidence. District witnesses Mary Ellen
Nest, Jodi Reise, and SDC teacher Denise Gomez all testified that the composition of the
SDC was approximately seven special needs children and five typically developing children.
The class was specifically designed to integrate typically developing children with the
special needs children so that the special needs children could model their behavior on the
typical children and so that the typical children could learn to appreciate and learn from the
special needs children. There was very little evidence presented about the disabilities and
instructional levels of the special needs children presently enrolled in the SDC. However,
even assuming that they all have a lower cognitive level and more deficits than does Student,
the inclusion of the typical peers would balance the composition of the class lndeed, Dr.
Schreibman noted that when she observed the SDC she had difficulty determining which
children had identified disabilities and which were typically developing children. Nor has
Student demonstrated that Student would not obtain educational benefit from the SDC class
merely because her instructional needs are not identical to every child in the SDC class The
weight of the evidence presented by the District is that the SDC teacher teaches to the needs
of every student in her class and that, therefore, the SDC class would be able adequately to
meet Student’s instructional needs

67. Student next posits that the instruction in the SDC does not meet her unique
needs as it does not incorporate ABA principles into the structure of the class Student also
questions the abilities of the SDC teacher, Denise Gomez. Ms. Gomez has a bachelor’s
degree in communications from San Diego State University and an early childhood special
education credential from the same school. She is better educated than are most general

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education preschool teachers She has had classes in ABA techniques inclusion training,
and course work in autism. Ms. Gomez recognizes that each child is unique, and that some
special needs children need more structure and visual cues than do others Ms. Gomez
stressed that the strategies she uses in her classroom as those consistent with traditional
behavior intervention methodologies She focuses on skill acquisition and reduction of
inappropriate behaviors Ms. Gomez is familiar with discrete trial training and knows how to
keep data with regard to the discrete trials Her classroom incorporates ABA methodologies
such as discrete trials behavior management, structuring of the class to meet the needs of the
students The classroom also incorporates sensory integration strategies Ms. Gomez is
willing and capable of implementing Student’s goals and objectives in her classroom, The
evidence thus demonstrates that Student’s concerns about Ms. Gomez’s capabilities are
unfounded. Further, the weight of the evidence does not support Student’s belief that the
SDC would not adequately address her educational needs

68. Finally, Student asserts that the SDC is not the least restrictive environment
(LRE) for her. The lDEA requires to the maximum extent appropriate, that children with
disabilities should be educated with children who are not disabled, unless due to either the
nature of the disability, or its severity, education in a regular class cannot be achieved
satisfactorily even with the use of supplementary aids and services Four factors are
evaluated and balanced to determine whether a placement is in the LRE: (l) the academic
benefits of placement in a general education setting, with any supplementary
paraprofessionals and services that might be appropriate; (2) the non-academic benefits of a
general education placement, such as language and behavior models provided by non-
disabled students; (3) the negative effects the student’s presence may have on the teacher and
other students in the general education setting; and (4) the cost of educating the student in a
mainstream environment.

69. Cost factors of educating Student in a general education classroom were not
put at issue in this case and thus will not be addressed. Neither is there any evidence that
Student would have a negative effect on a general education teacher or the other students in a
general education classroom. To the contrary, when the lEP meetings were held in May and
June of 2007, Student had spent approximately nine months in a general education classroom
without incident. Sharon Hillier, the Director of the Hanna Fenichel schoo|, who observed
Student a couple of times a week in Student’s preschool class, commented to the lEP team
that Student was a delightful addition to the school. Ms. Hillier indicated that Student
engaged in class activities and followed classroom routines, albeit with support from
Student’s aide. Although the observations of Student by District witnesses Dr. Schreibman,
Ms. Loveman, and Ms. Reise all noted that Student did not ofien initiate interaction with her
classmates and still had deficits in her language skills none observed any negative impact by
Student on either her teacher or classmates

70. Additionally, there is little evidence that Student would not benefit from
inclusion in a general education classroom. The observations by Ms. Loveman, Ms. Reise,
and Dr. Schreibman did not focus on the benefit Student was receiving in her general
education classroom at Hanna Fenichel. Rather, their observations focused on the fact that

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Student was not initiating social interaction without prompting. However, upon questioning
from Student’s counsel at hearing, all agreed that a teacher or an aide in a general education
classroom could easily redirect the type of autistic-like behaviors which the three had
observed in Student. All parties including the District, noted the positive aspects of
inclusion, including the fact that typically developing peers would provide excellent roll
models for Student with regard to her language and social skills For these reasons the
District’s offer proposed that Student spend half of her classroom time in a general
education.

71 . The focus of the inquiry with regard to whether the SDC is the LRE for
Student therefore is on factor one: the academic benefits to Student of a general education
class as contrasted with the academic benefits to her of a SDC, ln synthesis the inquiry is
whether Student was ready for full inclusion in a general education class when her lEP team
met or whether she would have been unable to participate in the academic environment even
with support and accommodations

72. The District correctly points out in its closing brief that much of the
testimonial evidence that Student presented at hearing of her readiness for fi.lll inclusion
came from witnesses who had not observed Student at the time the lEP team met. Therefore,
their observations could not be relevant to whether Student was ready at that time, Dr.
Morrow observed Studentjust days before the hearing, some six months after the lEP team
meeting, Dr. Bailey observed Student in late September and early October 2007, four
months alier the lEP meeting, Dr. Patricia Schneider-Zioga'8 also observed Student mere
days before the hearing in this matter. Although their testimony was useful in presenting an
overview of Student’s present levels of language and social interaction, it was not relevant to
what the parties knew, or should have known, when developing Student’s IEP six months
before the hearing took place. Four to six months is a significant amount of time in the life
of any four-year-old child; it is a particularly significant amount of time for Student as the
evidence indicated she has consistently made remarkable progress over brief periods

73. The District believes based on the recommendations of its expert, Dr.
Schreibman, and staff members Ms. Loveman and Ms. Reise that Student was not ready for
full inclusion at the time the lEP team met. The District argues that Student needs to be in an
environment where she learns independently to navigate a classroom and where activities are
teacher-directed rather than student-directed as preparation for the structure of a typical
Kindergarten class Dr. Schreibman, who is well known in the field of autism, specifically
believed that Student required the structure of the SDC class in order to extinguish the
behaviors she observed in Student, such as talking without directing her language toward
anyone in particular, and not being fully engaged in the classroom. Ms. Loveman and Ms.
Reise also believed that Student would be better served in the SDC where the specially-

 

‘8 Dr. Schneider-Zioga has a doctorate degree in linguistics from the University of Califomia at Los
Angeles. She is presently a full time lecturer at Califomia State University, Fullerton.

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trained SDC teacher could focus on extinguishing Student’s inappropriate behaviors
increasing Student’s language skills and teaching her navigate a classroom without an aide.

74. However, the District’s arguments in favor of the SDC placement improperly
focus on the whether Student’s access to her education would be maximized in that setting
rather than on focusing on whether Student would be able to progress academically in a
general education classroom. The inquiry is not whether the SDC is best for Student.

Rather, the inquiry is whether Student should be removed the general education environment
because the nature and severity of her disabilities is such that education in regular classes
with the use of supplementary aids and services cannot be achieved satisfactorily. Therefore,
even if it is not the best academic setting for a Student, a general education classroom is
appropriate if the child can receive a satisfactory education there.

75. The District’s contention that the lEP team did not have enough evidence
when it met in May and June 2007 to determine that Student could be satisfactorin educated
in a general education class is not persuasive Hanna Fenichel Director Sarah Hillier
indicated the progress Student had made in her preschool class at the school. Ms. Hillier
indicated that Student was participating in the class and following routines ln the nine
months Student had been in the class, she had improved significantly in the areas of
engagement, play, language and eye contact. Ms. Korneder, and the Coyne progress report,
corroborated Ms. Hillier’s observations Coyne noted that Student had achieved many of her
lEP goals earlier than projected, had made significant gains in the areas of speech and
language, social interaction skills generalization, and compliance. As of March 2007,
Student was beginning to comment to, respond to, and initiate interaction with her
classmates Coyne noted that while Student still required an aide to assist in the acquisition
of peer-interaction skills and to support her attending to and compliance with her teacher’s
directives for a large part of the school day Student was indistinguishable from her peers ln
addition, the weight of the evidence supports Student’s contention that she did not need the
structure of the SDC classroom in order to obtain benefit from or access her education. The
evidence showed that Student does not need tightly controlled activities adult initiation of all
her social activities or a visual schedule, the core components of the District’s SDC, in order
to benefit from her education.

76. Dr. Schreibman, Ms. Loveman and Ms. Reise based their recommendations
for a SDC placement on their observations of Student at schoo|. However, the total amount
of time spent on those observations was approximately five hours Conversely, Ms. Hillier
and Ms. Korneder observed Student for a few hours a week over nine months They were
able to observe Student’s ability to navigate a general education classroom, her ability to
learn to follow routines, and her progress in learning to interact with peers Additionally, the
main rationale advanced by the District’s observers for placing Student in a SDC was so that
her autistic-like behaviors behaviors that have not been shown to interfere with her access to
her education or with the access of other students to their education, could be extinguished,
The District offers no legal authority that supports the contention that extinguishing non-
interfering behaviors is or should be, the basis for a child’s placement in a SDC. Student has
therefore met her burden of proof that she can, at the least, make satisfactory progress in a

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general education classroom, and has therefore met her burden of proof that a general
education classroom is the least restrictive environment for her. The District’s offer to
Student of placement in a SDC class for a portion of her school day therefore substantively
denied her a FAPE.

General Education Classroom Componem of the District ’s Offer

77. Student contends that the general education classroom component of the
District’s offer denied her a FAPE because it was an inappropriate educational setting for
her. She also contends that when the general education component was combined with the
early morning SDC placement, the offer required Student to transition through too many
areas of the school campus through too many different activities and to have to interact with
too many different classmates

78. All lEP team members agreed that full time placement in a general education
class at the CDC would be too overwhelming for Student. Dr. Schreibman specifically stated
in her observation report that the CDC classroom, which she believed consisted of 24
children instructed by two teachers, was too much for Student to handle. She recommended
that any inclusive classroom for Student, even afier she transitioned from the recommended
SDC, should only contain a few students Dr. Schreibman believed that the Hanna Fenichel
class, or one with a similar amount of students would be an appropriate inclusion model for
Student.

79. ln fact, the total number of classmates with whom Student would need to
interact in the CDC class was actually closer to 30 since a different core group of students
attended class on different days 'I`he structure of the CDC class in late morning during the
time the District proposed that Student attended it presented an even more complicated
picture, particularly for a child who was not scheduled to interact with the class at the
beginning of the day when the children participated in opening activities and circle time,
During the time Student would be participating in the general education class, the children
were divided into two groups of 12, with one group engaging in pre-academic type activities
in the classroom and the other group participating in outside activities centering on gross
motor skills The two groups switched after approximately twenty minutes The children
who made up each group changed on a daily basis19 Afier these activities the 24 children
reunited in the classroom for activities such as singing and story time before engaging in
closing day activities and transition to lunch and playground time,20

 

'° District witnesses did indicate that they could possibly arrange for the group composition to remain
constant; however, the District did not confirm this by memorializing it as a part of the written lEP offer.

:° ln fact, the District’s offer would require Student to have to interact with about 42 children each day,
counting the children from the SDC and the children in the general education class. This directly contradicts Dr.
Schreibman’s recommendation that an inclusion class for Student only contain a small amount of classmates
because she did not believe Student was ready to handle interacting with a large number of peers at a one time.

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80. Neither District expert Dr. Schreibman, the Coyne representatives nor
Student’s family believed that Student was ready to handle a classroom with the number of
students in the SDC class lndeed, the lEP document references the observation of Student`s
mother that Student still demonstrated anxiety in large groups and that the Student still had
difficulty at church and in Sunday school due to the large groups there. While the District
staff appeared truly to believe that Student would be able to handle the large group of peers
found at the CDC, there does not appear to be any concrete basis for this belief. Ms. Ryder
testified that she believed the CDC classroom was appropriate for Student; however, as
Student’s speech and language provider, Ms. Ryder had only observed Student in a one-on-
one setting or interacting with perhaps one other child. Ms. Loveman and Ms. Reise also
believed that Student could easily adapt to the large amount of children in the CDC setting,
but they had only observed Student at school for a total of 3 hours between the two
observations.z' On the other hand, the belief of the Coyne staff and Student’s mother that the
CDC class would overwhelm Student is supported by their respective constant contact with
Student and observations of her in her present classroom,

81 . Additionally, there appears to be no concrete basis for the District’s position
that Student was capable of transitioning from the SDC to the CDC, and to make all the
transitions required in the CDC class, even with the provision of an aide. In fact, the
District’s position is contradictory. lt first asserts that Student requires a SDC class because
she in not engaging enough with her classmates and is dependent on her aide for initiating
social interactions Simultaneously, the District asserts that Student is capable of interacting
with some 42 students a day and transitioning not only between multiple activities in a
classroom but also transitioning between two groups of students in two very different classes
The District’s arguments in support of its position are unpersuasive.22

82. The AL.l finds that the Student has met her burden of proof that the CDC
classroom was not an appropriate instructional setting for her and therefore the District’s
offer substantively denied her a FAPE.

F ailure to Provide Staff/f dequa!ely Trained to Implement Student ’s IEP

83. Student’s contends that the District staff is not adequately trained. Although
not specified in her stated issues for hearing, Student appears to focus her concerns on
whether .lodi Reise, the District behavior specialist, is qualified to supervise Student’s ABA
program and whether Denise Gomez, the SDC teacher, could implement Student’s lEP. As
discussed above, Student has not met her burden of proof in either regard.

 

2' Although a long time family friend, there is no evidence that Ms. Loveman had observed Student outside
the context of her formal observations in preparation for the lEP meetings

22 CDC Director Suzanne Blackwood and CDC teacher Jody Gallagher discussed the general education
program and classrooms at the CDC, Their accounts credibly support the District`s position that the District offers a
quality preschool education. This Decision just finds that the program did not meet the needs of the student in this
case.

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84. Denise Gomez has a bachelor’s degree, a certificate in early childhood special
education, and experience, albeit not extensive, teaching special needs preschool children.
She also has the support of aides in her classroom as well as qualified special education
District staff should she need to consult about Student or the implementation of Student’s
lEP. Although not a Board Certified Behavior Analyst (BCBA), Ms. Reise has extensive
experience with autistic children both as a credentialed special education teacher and as a
supervisor at a NPA, which offers ABA services similar to those of Coyne. As the District
points out in its closing brief, there is no legal or ethical requirement that a BCBA supervise
an ABA program; Dr. Morrow indicated that his NPA olien hires supervisors who are not
Board certified. Student has therefore failed to meet her burden that District staff is not
qualified to supervise her ABA program or that District staff could not implement Student’s
lEP.

Approprialeness of the District ’s Assessmenls and Reimbursement of Student ’s IEE

85. A parent has the right to obtain an lEE if the parent disagrees with a district’s
assessment. When a parent makes a request for an lEE, a district must either fund the IEE at
public expense or file for a due process hearing to show that its assessments were
appropriate. individuals who are knowledgeable about a student’s disability and competent
to perform the assessments must conduct assessments The tests and assessment materials
must be validated for the specific purpose for which they are used, and must be selected and
administered so as not to be racially, culturally or sexually discriminatory. The assessments
must be provided and administered in the student’s primary language or other mode of
communication unless this is clearly not feasible. The assessors must use a variety of
assessment tools including information provided by the parent. Reassessment of a child may
occur if a district believes that the child’s needs warrant reassessment or if the child’s parents
or teacher requests reassessment. Unless other requested, reassessment shall not occur more
than once a year, but must occur at least every three years As part of any reassessment, the
lEP team and other appropriate professionals are required to review existing assessment data
or observation data for the student and receive input from the student’s parents to establish if
the team needs further information to determine the student’s continued eligibility for special
education services and what his or her present needs are.

86. The District administered a multidisciplinary initial assessment to Student in
the spring of 2006, in preparation for her initial lEP. The assessment included an evaluation
of Student’s health and development. The District also administered a transdisciplinary play-
based assessment that included clinical observations administration of the Southem
Califomia Ordinal Scales of Development - Cognition, administration of the Behavior
Assessment System for Children, record review, and the MacArthur Communicative
Development lnventories.

87. Student’s IEP team met on February 16, 2007, in order to start the process of
formulating her lEP for the 2007-2008 school year. As part of that process, the team
discussed what reassessments and new assessments Student needed, The team determined
that a forma|, standardized assessment was not necessary in order to determine Student’s

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present academic achievement. lnstead, the IEP determined that Student’s SDC teacher and
a District behavior specialist would determine Student’s academic achievement through
observations of her and a review of her records Likewise, the team determined that a
formal, standardized assessment in the area of cognitive functioning was not necessary.
Rather, the team designated the school psychologist to observe Student and review her
records to determine Student’s needs in this area. The team also agreed that the District
would contract with an outside evaluator who would also conduct an observation of Student
and report on her findings The consultant and District staff members were also going to
observe Student’s social adaptive behavior, The team ultimately determined that a more
formal speech and language assessment was needed for Student as was more formal vision
testing. These latter formal assessments were eventually completed. They are not at issue in
this hearing.

88. As discussed above, school psychologist Ms. Loveman, behavior specialist
Ms. Reise, and outside consultant Dr. Schreibman, conducted observations of Student in
March and April 2007. Student’s parents disputed the observations of each, and the ultimate
placement recommendations of each, as did the Director of Student’s preschool and her ABA
providers from Coyne. Student’s parents therefore did not agree to the District’s offer of
placement and services at the lEP team meetings held May l l and .lune 13, 2007.

89. On April 7, 2007, Student’s parents wrote to Ms. Nest, informing her that they
would be unilaterally placing Student at Hanna Fenichel for the 2007-2008 school year.
They also informed Ms. Nest that they were going to obtain lEEs for Student because they
specifically disagreed with the recommendations of the District’s outside consultant (Dr.
Schreibman) that Student required placement in an SDC. Student’s parents informed Ms.
Nest that they would be seeking reimbursement from the District of the lEEs indicating that
they were considering lEEs by an educational psychologist, a speech and language
pathologist, an ABA expert, and an expert on educational inclusion for students with autism.
Student’s attorney confirmed to the District’s attorney that Student was seeking an lEE at
public expense. Rather than agreeing to pay for the lEEs the District exercised its rights and
filed its own due process complaint to validate its assessments

90. Student’s parents never obtained a speech and language lEE, There was no
evidence presented at hearing and no argument made in Student’s closing briefs that the
speech and language assessment conducted by speech and language pathologist Lisa Ryder
over eight days in March and April 2007 did not meet legal standards or was in any way
improperly administered.

91. The only “assessment” ultimately obtained by Student’s parents was from Dr.
Caroline Bailey. As stated above, although she has a Doctorate degree in psychology, Dr.
Bailey is not a licensed psychologist. She is not licensed to administer standardized tests to
adults or children, and she did not do so with Student. Rather, Dr. Bailey spent numerous
hours observing Student in Student’s home, school, and church, numerous hours reviewing
Student’s records and researching issues concerning Student’s autism, and numerous hours

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preparing her extensive report concerning her findings and recommendations of Student. Dr.
Bailey’s bill, and the reimbursement request by Student’s parents, is for $24,900.

92. Student maintains that her parents are entitled to reimbursement for Dr.
Bailey’s services because the District’s observations did not comply with evaluation and
reporting requirement and because Student disagrees with the observations and
recommendations of Dr. Schreibman that Student engages in autistic-like behaviors to such
an extent that an SDC placement is necessary.

93. Student’s request for reimbursement fails on several grounds First, while she
argues that the District’s “assessment” failed to comply with evaluation and reporting
requirements Student fails to identify what those standards are and in what way they were
violated by the District. As the District points out in its brief, while there are specific legal
standards for formal assessments there simply are no statutory or regulatory standards for
observations of students That Student disagreed with what Dr. Schreibman observed and
recommended does not result in finding that she is entitled to an lEE. Nor does the fact that
Dr. Bailey conducted a much more intensive observation and spent many more hours on her
observation and review of Student than did Dr. Schreibman result in the invalidation of Dr.
Schreibman’s observation and recommendation

94. Second, if Student believed that formal assessment, with standardized testing,
was warranted for her, she should have made such a request. She did not. Nor did Student’s
parents obtain an lEE that met the legal standard of being administered by someone
competent to perform the assessment, since Dr. Bailey is not licensed to administer
standardized tests and did not, in fact, administer any. She, like Dr. Schreibman, only
observed Student. Student fails to demonstrate in what way Dr. Bailey’s observations
review, and research, meet evaluation and reporting requirements not met by Dr.
Schreibman.

95. Finally, there is no requirement that reassessment of a student within three
years of formal assessing must include formal, standardized testing unless it has been
requested by either the student’s parents or teacher. Student did not request any formal
assessments and did not obtain any lEE that met the legal standards indicated in paragraph
85 above. The evidence thus supports the District’s contention that its observations of
Student were appropriate, that there is no specific standard by which to measure
observations and that Student’s lEE met a standard that the District’s observations did not
meet. Student is therefore not entitled to reimbursement for the costs of Dr. Bailey’s
services

Appropriate Remedies
96. A school district may be required to reimburse a parent for the costs of private
school tuition and other related services if the district failed to make a FAPE available to the

child. Reimbursement is an equitable remedy that is determined on the facts of each case.
As determined in Factual Findings 76 and 82. the District failed to offer Student a FAPE for

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the 2007-2008 school year by not offering her a placement in the least restrictive
environment, and by offering her a placement in the District’s CDC general education class
which failed to meet Student’s unique needs

97. Reimbursement for the cost of a private school may be reduced or denied if the
parents did not provide notice, prior to removing the child from the public school, that rejects
the proposed placement, states their concems, and expresses the intent to enroll the student in
a private school. As determined in Factual Finding 89, Student’s parents provided the
District the required notice prior to unilaterally placing her at Hanna Fenichel.

98. There is no statutory prohibition against an ALJ ordering reimbursement of a
student’s expenses incurred at either a private school or a private service agency that has not
been certified by the State of California. However, Califomia law specifically prohibits an
ALJ from rendering a decision whose result is the placement of a special needs student in a
nonpublic school or a nonpublic agency that has not been certified by the State of Califomia.
While the parties do not dispute that Coyne is a certified NPA, Student admits that Hanna
Fenichel is not a certified NPS.

99. Finally, equitable considerations such as the conduct of both parties may be
evaluated when determining what, if any, relief is appropriate Several factors may be
considered when determining the amount of reimbursement to be ordered: the effort parents
expended in securing alternative placements; the availability of other more suitable
placements; and the cooperative or uncooperative position of the school district or of the
student’s parents

100. The weight of the evidence is that Hanna Fenichel was an appropriate
placement for Student. All parties including the District’s expert consultant, gave glowing
reviews of its staff and program as well as the excellent progress Student has made while
attending that school. Nor does the District point to any equitable reasons to deny
reimbursement to Student’s parents of the tuition they have paid for Student’s schooling at
Hanna Fenichel. Nor is there any evidence of any other suitable placements for Student.

The ALJ has found that the District’s offer of placement denied Student a FAPE as its SDC
did not constitute the LRE for Student and its CDC general education class was not
appropriate for her. Therefore, Student is entitled to reimbursement of her tuition for the past
school semester at Hannah Fenichel.

101. Student also requests prospective reimbursement for costs at Hanna Fenichel
for the remainder of the 2007-2008 school year. The ALJ is prohibited by statute from
ordering prospective placement at the school since it is not a certified NPS. lf the issue were
simply that Student’s parents had prepaid the full year’s tuition at Hanna Fenichel, but were
not required to do so, Student’s argument that her parents are entitled to full payment of the
tuition as reimbursement rather than a prospective cost, would be unpersuasive. However,
the quirk in this case is that Student’s mother testified, and the Hanna Fenichel Director
confirmed, that the school requires parents to pay the full year’s tuition in advance in order to
preserve a place in the school. The District provided no evidence to counter this assertion.

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'I`he ALJ finds that Hanna Fenichel is an appropriate placement for Student and that there is
no evidence in the record of any other placement that would be suitable for her. The ALJ
also finds that there is no evidence that Student’s parents did not adequately cooperate with
the District during the IEP process and that the evidence supports the assertion of Student’s
parents that they were required to prepay a full year’s tuition. Therefore, the ALJ finds
Student’s parents are entitled to reimbursement of the full year’s tuition at Hanna Fenichel,
for $6,100.

102. Student further requests that the ALJ order retroactive and prospective
payment of the costs of the Coyne one-on-one ABA aide that Student needs in order to attend
the general education classroom at Hanna Fenichel. There is no dispute that Student requires
such an aide in a general education classroom, Coyne is a certified NPA so there is nothing
to prohibit the requested order by the ALJ. However, Student has failed to demonstrate that
the District could not provide an adequate aide to address her needs at Hanna Fenichel. Nor
is Student entitled to select her own provider of services Acknowledging that Student
requires an aide, the ALJ shall therefore order that the District provide an appropriate aide to
Student in her class at Hanna Fenichel. The aide shall have been specifically trained in ABA
principles and specifically trained to work with autistic children. Should the District decided
to use an aide other than one from Coyne, the District will arrange for an IEP team meeting
to determine an appropriate plan to transition Student from her Coyne aides to the aide(s)
selected by the Distrier.”

103. Finally, Student’s mother requests that she receive reimbursement for the
hours she spent providing one-on-one ABA therapy to Student, which supplemented the
hours provided by Coyne beginning in September 2007. The evidence fully supports the
contention of Student’s mother that she is qualified to provide ABA services to Student, or to
any child in need of such services Afier Student was diagnosed with autism, her mother
began researching treatments and theories concerning autism, Student’s mother later
obtained a graduate certificate in ABA from Pennsylvania State University that qualifies her
to provide ABA services She has gone to extraordinary efforts to become knowledgeable
about autism and, in particular, about her daughter’s specific needs Student’s mother has
also invested considerable time and effort in obtaining training so that she can address her
daughter’s needs However, there is no support for Student’s position that a parent is entitled
to payment for providing educational services to his or her child under the facts of this case.
Additionally, since the ALJ has found that the District’s offer of 10 hours a week of ABA
services would provide educational benefit to Student, there is no evidence to support
Student’s contention that she required the additional hours of ABA services provided to her
by her mother in order for her to receive a FAPE. Finally, the ALJ notes that implementation
of ABA concepts in an autistic child’s home afier the child’s parents have received training,
appears to be one of the foundations of ABA therapy. lndeed, Dr. Morrow testified that the

 

23 ln any case, Student has not presented evidence of what the cost of' the Coyne one-on-one aide is or if
Student’s parents have paid any or all of the past costs of that services

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one of the key components of the ABA program his NPA had begun with toddlers is the
concept that the children’s parents would receive training so that they could continue the
ABA therapy the child received in Dr. Morrow’s clinic in the home. Student therefore has
failed to meet her burden of proof that her mother is entitled to payment for the hours she has
spent supplementing Student’s ABA therapy.

CONCLUSIONS OF LAW
Burden of Proof

1. Student, as the petitioning party seeking relief in issues A(l) through A(6), has
the burden of proof as to those issues The District, petitioning party in issue B, has the
burden of proof as to that issue. (Schaeffer v. Weast (2005) 546 U.S. 49 [126 S.Ct. 528, 163
L.Ed.Zd 387].)

Did the District predetermine its offer of placement and related services in its IEP offer for
the 2007-2008 school year?

2. Pursuant to the individuals with Disabilities in Education lmprovement Act
(lDElA), effective July l, 2005, and California special education law, children with
disabilities have the right to a FAPE that emphasizes special education and related services
designed to meet their unique needs and to prepare them for employment and independent
living. (Ed. Code, § 56000.) FAPE consists of special education and related services that are
available to the student at no charge to the parent or guardian, meet the state educational
standards, include an appropriate school education in the state involved, and conform to the
child’s lEP. (20 U.S.C. § 1402(9).)

3. There are two parts to the legal analysis of whether a school district complied
with the lDEA. The first examines whether the district has complied with the procedures set
forth in the lDEA. The second examines whether the lEP developed through those
procedures was reasonably calculated to enable the child to receive educational benefit. (Bd.
of Educ. of the Hendrick Hudson Central Sch. Dist. v. Rowley (1982) 458 U.S. 176 [102
S.Ct. 3034, 73 L.Ed.2d 690] (hereafter Rowley).)

4. The lDEA requires that a due process decision be based upon substantive
grounds when determining whether the child received a FAPE. (Ed. Code, § 56505, subd.
(f)( l ).) A procedural violation therefore only requires a remedy where the procedural
violation impeded the child’s right to a FAPE, significantly impeded the parent’s opportunity
to participate in the decision making process regarding the provision of a FAPE to the
parent’s child, or caused a deprivation of educational benefits (20 U.S.C. § 1415(f)(3)(E);
Ed. Code, § 56505, subd. (j); Rowley. supra, 458 U.S. at pp. 206-07; see also Amanda./. v.
C lark County Sch. Dist. (9th Cir. 2001) 267 F.3d 877, 892.) Procedural violations which do
not result in a loss of educational opportunity or which do not constitute a serious
infringement of parents’ opportunity to participate in the lEP formulation process are
insufficient to support a finding that a pupil has been denied a free and appropriate public

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education. (W.G. v. Bd. of Trustees of Target Range Sch. Dist. No. 23 (9th Cir. 1992) 960
F.2d 1479, 1483 (hereafier Target Range).) Procedural errors during the lEP process are
subject to a harmless error analysis (M.L., et al., v. Federal Way Sch. Dist. (9th Cir. 2004)
394 F.3d 634.)

5. ln determining the educational placement of a disabled student, the public
agency must ensure that the placement is based on the child's lEP. (34 C.F.R. § 300.1 16.)
Predetermination of a student’s placement is a procedural violation that deprives a student of
a FAPE in those instances where placement is determined without parental involvement in
developing the lEP. (Deal v. Hamilton County Bd. of Educ. (6th Cir. 2004) 392 F.3d 840
(hereafter Deal); Bd. of Educ. of Township High School Dist. No. 211 v. Lindsey Ross (7th
Cir. 2007) 486 F.3d 267.) However, merely pre-writing proposed goals and objectives does
not constitute predetermination; nor does providing a written offer to a Student before her
parents have agreed to it. (Doyle v. Arling!on County Sch. Bd. (E.D. Va. 1992) 806
F.Supp.1253, 1262.) lndeed, a district has an obligation to make a formal written offer in the
lEP that clearly identifies the proposed program, (Union Sch. Dist. v. Smith (9th Cir. 1994)
15 F.3d 1519, 1526.)

6. A school district has the right to select a program and/or service provider for a
special education student, as long as the program and/or provider is able to meet the student’s
needs; lDEA does not empower parents to make unilateral decisions about programs funded
by the public. (See, N.R. v. San Ramon Valley Unified Sch. Dist. (N.D.Cal. 2007) 2007 U.S.
Dist. Lexis 9135; Slama ex rel. SIama v. Indep. Sch. Dist. No. 2580 (D. Minn. 2003) 259 F.
Supp.2d 880, 885; 0 ’Dell v. Special Sch. Dist. (E.D. Mo. 2007) 47 IDELR 216.) Nor must
an IEP conform to a parent’s wishes in order to be sufficient or appropriate. (Shaw v. Dist. of
Colombia (D.D.C. 2002) 238 F.Supp.2d 127, 139 [lDEA does not provide for an
“education...designed according to the parent’s desires.”], citing Rowley, supra, 458 U.S. at
p. 207.)

7. In the instant case, the weight of the evidence fails to prove that the District
predetermined its offer of placement and services for Student at its preschool SDC and
preschool general education class Although Ms. Nest expressed concerns to Student’s
mother prior to the lEP meeting on May l l, 2007, that the parties would not be able to reach
agreement at the meeting, those concerns do not compel a finding that the District’s IEP team
as a whole had made a decision regarding where it would offer to place Student. Although
Ms. Nest discussed the upcoming lEP team meeting with other District staff members she
did so only to obtain an understanding of what each had observed of Student and what each
might be recommending as a placement.

8. There is also no evidence that Ms. Nest either directed District lEP team
members to refuse to consider a particular placement or that she attempted to influence their
recommendations in any way. Unlike the circumstances in the Deal case, the Student
presented no compelling evidence that the District here had a policy of refusing to place
special education students at private schools or give students in-home ABA services if such
was necessary and appropriate. Nor has Student proven that high-level District officials were

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dictating placement decisions concerning special education students Unlike the school
district in Deal, the District here provided many opportunities for the Director of the private
school (Hanna Fenichel) and the private ABA provider (Coyne) to offer their opinions and
recommendations Contrary to the circumstances in Deal, District lEP team members not
only permitted, but also encouraged, Student’s mother and her educational consultant, as
well as her attomey, private school Director, and provide ABA providers to contribute to the
discussions concerning placement and services There was no evidence of District attempts
to stifle discussion concerning placement at Hanna Fenichel. To the contrary, a review of the
lEP meetings indicates that many different lEP members and consultants dedicated
considerable portions of the IEP meetings on May 1 l, 2007, and June 12, 2007, to discussing
the conflicting recommendations for Student’s placement and services Furthennore, there is
no evidence that the District made statements either at or outside of lEP meetings that it
would never consider a private school placement for Student.

9. Pursuant to Factual Findings 12 through 46, and Conclusions of Law 2
through 8, the evidence fails to support the Student’s position that the District predetermined
its offer of placement and services for Student. To the contrary, the evidence supports a
conclusion that the District encouraged discussion of a placement at Hanna Fenichel as
compared to a placement in its classrooms None of the cases cited above or cited by Student
in her closing briefs stand for the proposition that a district is required to offer a placement
that is suggested by a student, or that the failure to accept a student’s suggested placement
means ipso facto, that a district has predetermined placement. Student has therefore failed
to meet her burden of persuasion that the District’s offer of placement in its SDC and in its
general education class, was predetermined before the lEP meetings and has thus failed to
prove that the District procedurally violated her rights under the lDEA with regard to her
classroom placement.

Did the District fail to consider all relevant data concerning Student, including input from
her parents before making an offer of placement and related services?

10. ln order to fulfill the goal of parental participation in the lEP process, the
school district is required to conduct, notjust an IEP meeting, but also a meaningful lEP
meeting, (Target Range, supra, 960 F.2d at p. 1485.) A parent has meaningfully
participated in the development of an IEP when she is informed of her child's problems
attends the lEP meeting, expresses her disagreement regarding the IEP team's conclusions
and requests revisions in the lEP. (N.L. v. Knox County Schools. (6th Cir. 2003) 315 F.3d
688, 693; Fuhrmann v. East Hanover Bd. of Educ. (3d Cir. 1993) 993 F.2d 1031, 1036
[parent who has an opportunity to discuss a proposed lEP and whose concerns are considered
by the lEP team has participated in the lEP process in a meaningful way].) “A school
district violates lDEA procedures if it independently develops an IEP, without meaningful
parental participation, and then simply presents the lEP to the parent for ratification.” (Ms.
S. ex rel G. v. Vashon Island School District (9th Cir. 2003) 337 F.3d l 1 15, 1 131 .) The test
is whether the school district comes to the lEP meeting with an open mind and several
options and discusses and considers the parents’ placement recommendations and/or

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concerns before the IEP team makes a final recommendation (Doyle v. Arlington County
School Board, supra, 806 F.Supp. at p. 1262; Deal, supra, 392 F.3d at p. 857.)

l 1. Based upon Factual Findings 12 through 46 and Conclusions of Law 2 through
10, Student has failed to demonstrate that the District failed to consider the input, opinions
recommendations or concerns of` Student’s mother, Student’s ABA providers Student’s
preschool Director, or any other individual having information concerning Student, with
regard to her placement or services A review of the lEP team meetings held on May 1 l and
June 13, 2007, support a finding that there was significant discussion by all attendees
concerning the benefits and drawbacks of different placements for Student. Student’s mother
and ABA providers gave long and detailed descriptions of their views of Student’s
capabilities as well as what they considered appropriate programs and services for her.
There is no indication that the IEP meeting was a charade or that the District was merely
going through the motions in holding it. Student has therefore failed to meet her burden of
persuasive that the District procedurally violated her rights by failing to consider the input of
Student’s mother or her service providers

Did the District./afl to ojer an ABA therapy program that meets Student ’s unique needs
because it is not scientifically based and supported by peer-reviewed research, to the extent
practicable is not offered in a home environment, and fails to provide a sufficient amount of
therapy hours?

12. As stated above, in the Rowley case the United States Supreme Court
addressed the level of instruction and services that must be provided to a student with
disabilities to satisfy the substantive requirements of` the lDEA. (Rowley, 458 U.S at p. 200.)
The Court determined that a student’s lEP must be reasonably calculated to provide the
student with some educational benefit, but that the lDEA does not require school districts to
provide special education students with the best education available or to provide instruction
or services to maximize a student’s abilities (]d. at pp. 198-200.) The Court stated that
school districts are required to provide only a “basic floor of opportunity” that consists of
access to specialized instruction and related services which are individually designed to
provide educational benefit to the student. (Id. at p. 201 .) As long as a school district
provides a FAPE, the type of methodology employed in providing a FAPE is |efi to the
district’s discretion. (Id. at p. 208.)

13. To determine whether a district offered a student a FAPE, the analysis must
focus on the adequacy of the district’s proposed program, (Gregory K. v. Longview Sch.
Dist. (9th Cir. 1987) 81 1 F.2d 1307, 1314 (hereafter Gregory K.).) If` the district’s program
was designed to address the student’s unique educational needs was reasonably calculated to
provide him some educational benefit, and comported with his lEP, then that district
provided a FAPE, even if the student’s parents preferred another program which would have
resulted in greater educational benefit. (20 U.S.C. § 141 2(a)(5)(A); Ed. Code, § 56031.)

14. Califomia’s definition of` special education includes both specially designed
instruction to meet the unique needs of individuals with exceptional needs and related

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services to enable them to benefit from such specially designed instruction. (Ed. Code, §
56031). Related services may be referred to as designated instruction and services (DlS).
(Ed. Code, § 56363, subd. (a).)

15. Title 34 Code of Federal Regulations part 300.320(a)(4) states IEPs shall
include a statement of the special education and related services and supplementary aids and
services based on peer-reviewed research to the extent practicable The language “to the
extent practicable” regarding the use of peer-reviewed research does not forbid a district
from using an educational program or service that is not peer-reviewed, where it is
impracticable to provide such a program. The United States Department of Education’s
comments and discussions regarding “peer-reviewed research” state that “We decline to
require all IEP Team meetings to include a focused discussion on research-based methods or
require public agencies to provide prior written notice when an IEP Team refuses to provide
documentation of research-based methods as we believe such requirements are unnecessary
and would be overly burdensome.” (71 Fed.Reg. 46663 (August 14, 2006).) The language
“to the extent practicable” regarding the use of peer-reviewed research does not forbid a
district from using an educational program or service that is not peer-reviewed, where it is
impracticable to provide such a program. Courts have determined that the most important
issue is whether the proposed instructional method meets the student’s needs and whether the
student may make adequate educational progress (Deal v. Hamilton County Dept. of Educ.
(E.D.Tenn. 2006) 2006 U.S. Dist. LEXlS 27570, pp. 51-57; Rocklin Unified School District
(OAH, May 25, 2007) 48 lDELR 234, 107 LRP 3181 1; 20 U.S.C. § 1414(d)(1)(|V); 34
C.F.R. § 300.320; Ed. Code, § 56345, subd. (a)(4).)

16. As stated in Factual Finding 53, all parties agree that Student continues to have
unique needs in the areas of expressive and pragmatic speech and language and in
socialization. Nor do the parties dispute that Student continues to require intensive ABA
services to assist in addressing her deficits Student argues that she requires some 17 hours
of ABA therapy and that the therapy must be provided in her home. As stated in Factual
Findings 54 through 64, and based upon Conclusions of Law 12 through 15, Student has
failed to meet her burden that she requires 17 hours of in-home ABA services in order for her
to obtain benefit from her education. Student did not present compelling evidence in support
of this contention. ln fact, Coyne & Associates, Student’s present ABA provider, only
recommended in its progress report prepared in May 2007, that Student receive a total of 25
to 30 hours of combined ABA services Since Coyne provides an ABA aide to Student at her
preschool for approximately 18 hours a week, its recommendation for one-on-one intensive
ABA therapy amounted to only 7 to 12 hours a week. This conforms to the District’s offer
of 10 hours a week. Nor did Student provide persuasive evidence that her special needs
dictate that she receive the ABA therapy in home as opposed to at school, in order for her to
obtain educational benefit or to access her education. Student’s deficits in language and
socialization are much more marked at home than at school; the evidence thus supports the
District’s position that providing the ABA services at school will assist Student in learning to
generalize her newly acquired abilities to the school setting. Finally, as stated in Factual
Findings 59 through 64, and Conclusions of Law 15, Student has failed to meet her burden of
proof that the District’s ABA program is not based upon methodologies that are scientifically

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based and supported by peer review. To the contrary, the evidence indicated that the ABA
program provided by the District includes the same methodologies used by Coyne. The fact
that the Coyne providers are more highly trained, are better at record keeping, and may be
better supervised than District staff does not support a conclusion that the District’s program
does not meet legal standards The District’s offer of 10 hours of ABA therapy to be
provided at the District’s school site therefore did not deny Student a FAPE.

Did the District ’s offer of placement for a portion ofStudent ’s school day in a special day
class deny her a FAPE because it does not incorporate adequate ABA principles fails to
include peers with compatible instructional needs, and is not the least restrictive
environment for Student?

17. To determine whether a school district substantively offered FAPE to a
student, the adequacy of the school district’s proposed program must be determined.
(Gregory K., supra, 81 l F. 2d at p. 1314.) Under Rowley and state and federal statutes the
standard for determining whether a district’s provision of services substantively and
procedurally provided a FAPE involves four factors: (1) the services must be designed to
meet the student’s unique needs; (2) the services must be reasonably designed to provide
some educational benefit; (3) the services must conform to the IEP as written; and, (4) the
program offered must be designed to provide the student with the foregoing in the least
restrictive environment,

18, Both federal and state law requires school districts to provide a program in the
LRE to each special education student. (See 34 C.F.R. §§ 300.1 14, et seq.) A special
education student must be educated with nondisabled peers “[t]o the maximum extent
appropriate,” and may be removed from the regular education environment only when the
nature and severity of the student’s disabilities is such that education in regular classes with
the use of supplementary aids and services “cannot be achieved satisfactorily.” (Ed. Code,
§§ 56001, subd. (g), 56345, subd. (a)(5), 20 U.S.C. § 1412(a)(5)(A); 34 C.F.R. §
300.1 14(a)(2)(i), (ii).) A placement must foster maximum interaction between disabled
students and their nondisabled peers “in a manner that is appropriate to the needs of both.”
(Ed. Code, § 56031; see also 20 U.S.C. § 1412 (a)(5)(A); Rowley, supra, 458 U.S. at p. 181,
fn. 4; Poolmv v. 1313-hap (9th Cir. 1995) 67 F.3d 830, 834.)24

19. When determining whether a placement is in the least restrictive environment
(LRE), four factors must be evaluated and balanced: (1) the academic benefits of placement
in a mainstream setting, with any supplementary paraprofessionals and services that might be
appropriate; (2) the non-academic benefits of mainstream placement, such as language and
behavior models provided by non-disabled students; (3) the negative effects the student's
presence may have on the teacher and other students; and (4) the cost of educating the
student in a mainstream environment, (Ms. S. v. Vashon Island School Dist. (9th Cir. 2003)

 

24 The terms “regular education” and “general education" mean the same thing a it relates to the IDEA,
and are ofien used interchangeably by the parties here.

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337 F.3d l 1 15, 1 136-1 137; Sacramento Citfy Unified School District v. Rachel H. (9th Cir.
1994) 14 F.3d 1398, 1404 (herealier, Rachel H.))

20. As stated in Factual Finding 66, and based upon Conclusion of Law 17,
Student has failed to meet her burden of showing that the SDC proposed did not meet her
unique needs because the class was composed of students whose instructional needs were
incompatible with those of Student. As stated in Factual Finding 67 and based upon
Conclusion of Law 17, Student has also failed to meet her burden of proof that the methods
of instruction in the proposed SDC class failed to meet her unique needs

21. However, as stated in Factual F indings 68 through 76, and based upon
Conclusions of Law 17, 18, and 19, Student has met her burden of proof that the SDC class
was not the LRE for her. Applying the four-factor analysis describe in the Rachel H. case, it
is clear that Student cou|d, at the very least, be satisfactorily educated in a general education
classroom as long as she had aide support. There is little evidence that Student would not
benefit from full inclusion in a general education setting. By the time Student’s lEP
meetings were held in May and June 2007, Student had spent almost an entire school year
successfully progressing in her education at Hanna Fenichel. The only people who had
consistently observed Student during that entire year - her mother, her preschool Director,
and her ABA supervisor - all observed that Student was able to follow routines in the class,
engage to some extent with her classmates, and generally benefit from her education. There
was no evidence that Student was disruptive in class or that cost factors influenced the
District’s determination that its SDC was the proper placement for Student. As stated in
Conclusion of Law 18, the IDEA, the Califomia Education Code, and federal regulations
place a heavy emphasis on educating special education students in the regular education
environment, even if` supports and accommodations are required. Removal of a special
education child from the general education should occur only when the nature and severity of
the child’s disability prevents her from being educated satisfactorily in the general education
environment

22. Certain|y, as the cases cited in Conclusion of Law 18 note, full inclusion is not
possible or practical for every special needs student. Student’s experts acknowledge as
much. Dr. Morrow runs an NPS in which he enrolls only special needs students Ms.
Korneder testified that she recommends SDC placement for students where appropriate. Dr.
Bailey testified that she too would indicate if a SDC placement is appropriate; in fact, Dr.
Bailey was herself a student in a SDC, However, in Student’s case, she has persuasively
shown that a SDC is not the LRE for her. Therefore, the District’s offer of` placement in its
SDC substantively denied her a FAPE.

Did the District ’s offer of placement in a District general education classroom for a portion
of Student 's school day deny her a FA PE because it is not an appropriate instructional
setting_ for her and because the placement creates a school day that includes too many
transitions between classroom settings?

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23. As stated in Factual Findings 77 through 82, and based upon Conclusion of
Law 17, the evidence supports Student’s contention that the District’s general education
placement at its CDC was not appropriate for her. The District’s expert consultant, Dr. Laura
Schreibman, had observed the classroom and found that its composition of 24 students would
overwhelm Student. Although a portion of class time that the District proposed Student
spend in this class would only consist of 12 students such was true for only approximately
45 minutes of the two hours Student would be in the class. Additionally, the true count of
total potential peers with whom Student would have to interact in the class was actually
closer to 30 than 24 since there were different students enrolled in the class on different days
The District’s position that Student could navigate the CDC class is based on the
observations and recommendations of its former school psychologist and present behavior
specialist. However, the amount of time they observed Student at her private preschoo| only
totaled three hours Additionally, the setting at which they observed Student - the preschool
class at Hanna Fenichel - was significantly different from the CDC class proposed by the
District. Student’s class at Hanna Fenichel was composed of only six to eight children and
there were at least two adult instructors in the class, in addition to Student’s one-on-one aide.
Additionally, Student’s mother had informed the lEP team at the IEP meeting in May 2007
that Student continued to be overwhelmed and show anxiety in large group settings
Therefore, the District’s argument that this type of class would not overwhelm Student is not
persuasive. The District’s position that Student would not have difficulty in transitioning
between multiple classroom settings is likewise not persuasive for the same reasons indicated
above. Student therefore met her burden of proof that the District’s CDC class was an
inappropriate setting for her because it did not meet her unique needs and therefore denied
her a FAPE.

Did the District ’s placement ojer deny Student a FAPE because the District failed to provide
staff capable of implementing the ofcr?

24. As determined in Factual Findings 83 and 84, and based upon Conclusions of
Law 6 and 17, Student has failed to meet her burden of proof that District staff members
were incapable of implementing any portion of the District’s proposed offer. lnstructors for
each portion of the placement are trained professionals who take theirjobs seriously. That
Student’s present ABA providers may be even better trained or supervised than District staff,
or that her present providers may be more diligent in keeping records than do District staff,
does not lead to the conclusion that District staff could not meet Student’s educational needs

A re the District 's assessments of Student with regard to her educational placement
appropriate and, if not, is Student entitled to reimbursement from the District for the

independent assessment conducted by Dr. Caroline Bailey?

25. Prior to making a determination of whether a child qualifies for special
education services a school district must assess the child. (20 U.S.C. § 1414(a), (b); Ed.

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Code, §§ 56320, 56321.)25 The request for an initial assessment to see if a child qualifies for
special education and related services may be made by a parent of the child or by a state or
local educational agency. (20 U.S.C. § 1414(a)(l )(B).) After the initial assessment, a school
district must conduct a reassessment of the special education student not more frequently
than once a year, but at least once every three years (20 U.S.C. § l414(a)(2)(B); Ed. Code,
§ 56381, subd. (a)(2).) A reassessment shall be conducted upon the request of a parent. (20
U.S.C. § l414(a)(2)(A)(ii); Ed. Code, § 56381, subd. (a)(l).)

26. School districts must perform assessments and reassessments according to
strict statutory guidelines that prescribe both the content of the assessment and the
qualifications of the assessor(s). The district must select and administer assessment materials
in the student’s native language and that are free of racial, cultural and sexual discrimination.
(20 U.S.C. § 1414(b)(3)(A)(i); Ed. Code, § 56320, subd. (a).) The assessment materials must
be valid and reliable f`or the purposes for which the assessments are used. (20 U.S.C. §
1414(b)(3)(A)(iii); Ed. Code, § 56320, subd. (b)(2).) They must also be sufficiently
comprehensive and tailored to evaluate specific areas of educational need. (20 U.S.C. §
1414(b)(3)(C); Ed. Code, § 56320, subd. (c).) Trained, knowledgeable and competent
district personnel must administer special education assessments (20 U.S.C. §
1414(b)(3)(A)(iv); Ed. Code, §§ 56320, subd. (b)(3), 56322.) A credentialed school
psychologist must administer psychological assessments and individually administered tests
of intellectual or emotional functioning (Ed. Code, §§ 56320, subd. (b)(3), 56324, subd.
(a).) A school nurse or physician must administer a health assessment. (Ed. Code, § 56324,
subd. (b).)

27. ln perfon'ning a reassessment, a school district must review existing
assessment data, including information provided by the parents and observations by teachers
and service providers (20 U.S.C. § l414(c)(l)(A); Ed. Code, § 56381, subd. (b)(l).) Based
upon such review, the district must identify any additional information that is needed by the
lEP team to determine the present levels of academic achievement and related developmental
needs of the student and to decide whether modifications or additions in the child’s special
education program are needed, (20 U.S.C. § l414(c)(l)(B); Ed. Code, § 56381, subd.
(b)(2).) The district must perform assessments that are necessary to obtain such information
concerning the student. (20 U.S.C. § l414(c)(2); Ed. Code, § 56381, subd. (c).)

28. The procedural safeguards of the lDEA provide that under certain conditions a
student is entitled to obtain an lEE at public expense. (20 U.S.C. § 1415(b)(l); 34 C.F.R. §
300.502 (a)(l); Ed. Code, § 56329, subd. (b) [incorporating 34 C.F.R. § 300.502 by
reference]; Ed. Code, § 56506, subd. (c) [parent has the right to an lEE as set forth in Ed.
Code, § 56329; see also 20 U.S.C. § 1415(d)(2) [requiring procedural safeguards notice to
parents to include information about obtaining an lEE].) “lndependent educational
assessment means an assessment conducted by a qualified examiner who is not employed by

 

25 The federal code uses the term “evaluation” instead ol` the term “assessment” used by Califomia law, but
the two terms have the same meaning for these purposes

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the public agency responsible for the education of the child in question.” (34 C.F.R. §
300.502(a)(3)(i).) To obtain an lEE, the student must disagree with an assessment obtained
by the public agency and request an lEE, (34 C.F.R. § 300.502(b)(1) & (b)(2).)

29. The provision of an lEE is not automatic. Code of Federal Regulations, title
34, part 300.502(b)(2), provides in relevant part, that following the student’s request for an
IEE, the public agency must, without unnecessary delay, either:

(i) File a due process complaint to request a hearing to show that its
assessment is appropriate; or

(ii) Ensure that an independent educational assessment is provided at public
expense, unless the agency demonstrates in a hearing pursuant to §§ 300.507
through 300.513 that the assessment obtained by the parent did not meet
agency criteria.

(See also Ed. Code, § 56329, subd. (c) [providing that a public agency may initiate a due
process hearing to show that its assessment was appropriate].)

30. As stated in Factual Findings 85 through 95, and based upon Conclusions of
Law 2 through 29, the weight of the evidence mitigates against a finding that the District’s
assessment process was inappropriate or that Student is entitled to reimbursement for the
services of Dr. Bailey. Except for its speech and language assessments and vision
assessments the District chose not to re-assess Student using formal, standardized tests in
spring 2007. The law does not require that it do so. Rather, the District proposed an
assessment plan that indicated that District staff would only conduct observations of Student
in the areas of cognitive functioning, academic achievement, and social adaptive behavior.
Student’s mother signed the assessment plan; Student’s parents have not asked the District to
administer formal assessments

31. There are no specific statutory or regulatory standards for how observations
conducted as part of an assessment process should be performed. There is no guidance as to
how long an observation should be, where it should take place, or how notes on the
observation should be taken. There is no requirement that a formal report of the observation
be generated and, therefore, no standard for what such a report would contain or in what
format it would be written. Therefore, there is no basis for Student’s contention that the
District’s observations did not comply with evaluation and reporting requirements No such
standards exist. ln fact, the lEE obtained by Student did not include standardized tests either.
Dr. Bailey’s IEE consisted of observations of Student, review of her records research, and
the preparation of a report. Dr. Bailey did not conduct any standardized tests of Student.
Student’s parents did not ask her to do so and she is not licensed to administer such tests
Nor did Dr. Bailey or Student’s parents refer Student to another psychologist to administer
standardized tests Student disagreed with what the District assessors observed and
disagreed with their conclusions and recommendations concerning Student’s placement.
However, such disagreement does not support a contention that Student is legally entitled to

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an lEE. The weight of the evidence therefore supports the District’s contention that its

assessments were proper and that Student is not entitled to reimbursement of her lEE at
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public expense.’6

Determination of Relief

32. The court has long recognized that equitable considerations are appropriate
when fashioning relief for violations of the lDEA. (Parents of Student W. v. Puyallup Sch.
Dist., No. 3 (9th Cir. 1994) 31 F.3d 1489, 1496 (hereafter Puyallup School), citing School
Committee of Burlington v. Department of Education (l 985) 471 U.S. 359, 374 [105 S.Ct.
1996].) Compensatory education is an equitable remedy; it is not a contractual remedy.
(Puyallup School, supra, 31 F.3d at p. 1497.) Relief is appropriate if it is designed to ensure
that the student is appropriately educated within the meaning of the lDEA. (Ibid.) The
award must be reasonably calculated to provide the educational benefits that likely would
have accrued from special education services the school district should have supplied. (Reid
ex rel. Reid v. District o_fColumbia (D.D.C. Cir. 2005) 401 F.3d 516, 524.)

33. A district may be required to reimburse a student’s parents for the costs of a
private school if` the child previously received special education and related services from the
district and the district failed to make a FAPE available to the child. (20 U.S.C. §
l412(a)(10) (C)(ii); 34 C.F.R. § 300.148(c); Ed. Code, § 56175.) Factors to be considered
when determining the amount of reimbursement include the existence of other, more suitable
placements the effort expended by the parent in securing alternative placements and the
general cooperative or uncooperative position of the school district. (Target Range, supra.
960 F.2d at p. 1487; Glendale Unijied Sch. Dist. v. Almasi, (C.D. Cal. 2000) 122 F.Supp.2d
1093, 1 109.)

34. Additionally, a student is only entitled to reimbursement of private school
tuition if it is determined that the placement at the private school was appropriate for the
student. The placement does not have to meet the standard of a public school’s offer of
FAPE; it must, however, address the student’s needs and provide educational benefit to him
Or her. (Florence County School Dist. v. Carter (1993) 510 U.S. 7, 13 [1 14 S.Ct. 361, 126
L.Ed.2d 284] (hereafter Carter); Alamo Heights Independent Sch. Dist. v. State Bd. of
Education (5th Cir. 1986) 790 F.2d 1153, 1161; 34 C.F.R. § 300.148.) Court decisions
subsequent to Burlington have also extended relief in the form of compensatory education to
students who have been denied a FAPE. (See, e.g., Lester H. v. K. Gilhool and the Chester
Upland School District (3d Cir. 1990) 916 F.2d 865; Miener v. State of Missouri (8th Cir.
1986) 800 F.2d 749.) Compensatory education is an equitable remedy. There is no
obligation to provide day-for-day or hour-for-hour compensation “Appropriate relief is relief

 

36 The ALJ notes that the bill for services tendered by Dr. Bailey is extraordinarin high. The ALJ
reviewed a sampling of about 15 prior Califomia administrative decisions in which the Student’s parents requested
reimbursement for an lEE. The ALJ did not find any reimbursement order for over 34,500.

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designed to ensure that the Student is appropriately educated within the meaning of the
lDEA.” (Puyallup School, supra, 31 F.3d at p. 1497.)

35. There is broad discretion to consider equitable factors when fashioning relief`.
(Carter, supra, 510 U.S. at p. 16.) The conduct of both parties must be reviewed and
considered to determine whether relief is appropriate. (Puyallup School, supra, 31 F.3d at p.
1496.) An award to compensate for past violations must rely on an individualized
assessment,just as an lEP focuses on the individual student’s needs (Reid ex rel. Reid v.
District of Columbia (D.D.C. Cir. 2005) 401 F.3d 516, 524.) The award must be “reasonably
calculated to provide the educational benefits that likely would have accrued from special
education services the school district should have supplied in the first place.” (Ibid.)

36. Therefore, under appropriate circumstances a court (and an ALJ) has the
discretion to award prospective relief. However, in California, the Education Code limits the
prospective relief that an ALJ may order. By statute, an ALJ may not render a decision that
results in the placement of an individual with exceptional needs in a nonpublic, nonsectarian
school, or that results in a service for an individual with exceptional needs provided by a
nonpublic, nonsectarian agency, if the school or agency has not been certified by the State of
Califomia pursuant to the Education Code. (Ed. Code, § 56505.2, subd. (a).)

37. Based upon Factual Findings 68 through 82 and 96 through 100 and
Conclusions of` Law 17, 18, 19, 21, 22, 23, and 32 through 36, Student is entitled to relief
based upon the AL.l’s finding that the District’s offer of placement in its SDC and CDC
general education classes denied Student a FAPE. Hanna Fenichel met the legal
requirements of an appropriate placement for Student. Nor is there any evidence that
Student’s parents unduly failed to cooperate in the IEP process Student’s parents are thus
entitled to reimbursement for the costs of tuition at Hanna Fenichel that they have already
paid. Furthermore, as detailed above, since the evidence supports the contention of Student’s
mother that the school required payment of tuition in advance, Student’s parents are entitled
to the full amount of tuition they have paid, in the amount of $6, 1 00.

38. However, as noted in Conclusion of Law 37, Califomia statute prohibits the
ALJ from ordering that the District prospectively place Student at Hanna Fenichel and the
ALJ is not making such an order now. The ALJ’s order that the District reimburse Student’s
parents the full tuition they have paid for school year 2007-2008 is therefore not to be
interpreted as an order for prospective placement of Student at Hanna Fenichel nor is it to be
interpreted that Hanna Fenichel is the stayput for Student for any future purposes

39. Based upon the Factual Findings and Conclusions of Law in this Decision,
Student is entitled to the provision of a one-on-one aide at school. As stated in Factual
Finding 101, however, Student is not entitled to her choice of aide provider, Therefore, the
ALJ orders that the District provide an appropriate aide to Student in her class at Hanna
Fenichel. The aide shall be specifically trained in ABA principles and specifically trained to
work with autistic children. Should the District decided to use an aide other than one from
Coyne, the District will arrange for an lEP team meeting to determine an appropriate plan to
transition Student from her Coyne aides to the aide(s) selected by the District.

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40. Based upon Factual Findings 85 through 95 and Conclusions of Law 2 through
31, Student’s request for reimbursement for the cost of Dr. Bailey’s services is denied.

41. Finally, Student requests monetary compensation for her mother’s time spent
supplementing Student’s in-home ABA program. Student’s request is supported by neither
the law nor the facts of this case. Student cites to no authority requiring a District to pay a
parent a salary for educating his or her child at home. Student cites to one case, Bucks
County Department ofMental Health/Mental Retardation v. Commonwealth of Pennsylvania
(3d Cir. 2004) 379 F.3d 61, in which a court awarded a parent monetary compensation for
providing services to her child. However, that case was very unusual because the parent had
specifically received training to become a service provider when she was unable to find
another service provider to furnish services to her child. The court limited its holding to a
situation in which “a trained service provider was not available....” (Id. at p. 75.) |n this
case, there is no question that appropriate service providers were available through the
District or through NPAs such as Coyne. Additionally, the ALJ has found that Student did
not require more than 10 hours a week of one-on-one ABA therapy in order to benefit from
her education. Student’s request that her mother be reimbursed for providing supplement
ABA services is therefore denied.27

ORDER

1. Within 30 days of this order, the District shall pay $6,100 to Student’s parents
to reimburse them for the costs of tuition they paid to the Hanna Fenichel School.

2. Within 30 days of this order, the District shall provide a one-on-one aide to
Student for the time she is enrolled at Hanna Fenichel, for the remainder of the 2007-2008
school year, including extended school year in the summer of 2008. lf the District chooses
not to contract with Coyne, the District shall arrange for an lEP meeting with Student’s
parents and the District team members to determine an appropriate plan for transitioning
Student from her present Coyne aide(s) to the aide(s) selected by the District. The order to
hold the lEP meeting if Coyne is not the selected provider does not affect the obligation of
the District to begin providing one-on-one aide services to Student at Hanna Fenichel within
30 days of this order. The District shall also provide a minimum of one hour a week of
supervision for the one-on-one aide, either through its own staff of the NPA of the District’s
choice.

 

27 Student has not provided any other evidence of costs expended by her parents for Coyne services She
has therefore failed to show entitlement to any reimbursement other than that ordered here, Furthermore, since the
ALJ has found that District staff is competent to provide ABA services Student is not entitled to reimbursement for
the costs of her Coyne one-on-one aide at school.

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3. If Student wishes to receive intensive ABA services from the District, she
must agree to the 10 hours of ABA services at the District school site, as offered in the June
13, 2007 lEP.

4. Student’s other requests for relief are denied.

PREVA|L|NG PARTY

Education Code section 56507, subdivision (d), requires that this Decision indicate
the extent to which each party prevailed on each issue heard and decided in this due process
matter. Pursuant to this mandate, it is determined that the Student substantially prevailed on
lssue l(D) and fully prevailed on lssue l(E). The District fully prevailed on lssues l(A),
l(B), l(C), l(F), and lssue 2. The District minimally prevailed on lssue l(D).

RlGHT TO APPEAL THIS DECISION
This is a final administrative decision, and all parties are bound by this Decision.

Pursuant to Education Code section 56505, subdivision (k), any party may appeal this
Decision to a court of competent jurisdiction within ninety (90) days of receipt.

DATED: .lanuary 7, 2008

   

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Administrative aw Judge
Office of Administrative Hearings
Special Education Division

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EXH|B|T B

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Current Placement

 

 

 

 

8:45-12:15 (5 days)
4_ Community Preschool Setting_Hanna Fenichel
w/ Ms. Jen, Shannon, & Nancy

'I`otal # Physical Environments/school day
(excluding playground): l

# Transitions during school day: 2

Lunch/ outdoor play Total # Peers/ wk: 14

Total # Staff Changes during school day: 0
Minutes/wk in full inclusion classroom: 1,050
Teachcr:Student Ratio in inclusive classroom: <1:5

//
Speech w/ Ms. Ryder (No Pullout) //
45-60 mins. lndiv./Group (3 days) /j
/

2-3 hours In-Home ABA

w/ Coyne & Assoc. staff or Parent
(5 days)

 

 

 

 

 

 

 

 

    

 

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Proposed District Placement

 

 

\\`\\\\ \\\\\ 8:45-10:45 (4 days) Severely Handicapped
\\\ Preschool SDC w/ Ms. Gomez
\__ \`\_\\\\\\

Speech Pullout w/ Ms. Ryder
45-60 mins. Indiv./Group (3 days)

 

 

 

Recess/Snack
10:45-12:45 (4 days)
CDC General Ed. Preschool w/ Ms.Gallagher
(incl. Recess & Lunch)
Lunch

 

 

12:45-2:45 Severely Handicapped
Preschool SDC w/ Unknown staff for 1:1 IBl

 

Total # Physical Environments/school day (excluding playground): 4
# Transitions during school day: 6

Total # Peers/wk: up to 38**

'I`otal # Staff Changes during school day: 4

Minutes/wk in full inclusion classroom: 480

Teacher: Student Ratio in inclusive classroom: 1212

**Testimony from SBSD employees revealed that this number was actually 42 peers per
DAY and even more per week. The ALJ used and referred to this larger, more accurate
number in writing her decision.

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EXH|B|T C

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lrvine, CA 92617

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Fax: 949-856-0168
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john@maureengraves.com
Attorney for Plaintiffs

KA.D., a minor, by her mother,
KY.D., as her next friend;

KY.D.; and B.D.

UNITED STATES DISTRICT COURT
SOUTHERN DlSTRICT OF CALIFORNlA

KA.D., a minor, by her mother, KY.D., as her Civil No. 08-cv-00622-W (POR)

next friend; KY.D.; and B.D.; DECLARATION OF KY.D.
Plaintiffs

vs. 27 April 2009

SOLANA BEACI-I SCHOOL DISTRICT,

Defendant.

 

SOLANA BEACH SCHOOL DISTRICT
Counterclaimant,
vs.
KA.D., a minor, by her mother, KY.D._. as her
next friend; KY.D.; and B.D.;
Counter Defendants.

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The following declaration is based upon my own personal knowledge and experiences
documentation from various sources including Solana Beach School District (SBSD), Coyne and
Associates (Coyne), and Office of Administrative Hearings (OAH). Its contents are true to the best
of my knowledge and l would be willing to testify thereto as a witness

l. On January 7, 2008 our family received an OAH decision written by Judge Darrell

Lepkowski which affirmed our daughter, KA.D.'s right to continue to be educated to the maximum
| 08-cv-00622-W (POR)

 

DECLARAT|ON OF KY.D.

 

 

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extent appropiriate alongside her non-disabled peers at Hanna Fenichel Center, a preschool near our
home and within the boundaries of SBSD. It also affirmed KA.D.'s ongoing need for 1:1 support at
Hanna Fenichel by an aide skilled in Applied Behavior Analysis (ABA) in order to receive a free
appropriate public education (FAPE).

2. However, the decision did not require, or make any provisions for these necessary
aide support services from the date of the decision until 30 days after the decision when the SBSD
was then required to either begin funding Coyne and Associates services or provide services
with their own staff or another suitable non-public agency (NPA).

3. Up until that point, our family had continued to Work with our military insurance and
the San Diego Regional Center (SDRC) in order to arrange the provision of 1:1 aide support at
Hanna Fenichel through Coyne. However, through mechanisms which I am barred
by confidentiality from disclosing, we were able to have these services funded through January 31,
2008 but not thereafter, leaving several days of aide support unfunded during this potential "gap" in
services

4. Because the ALJ had determined that this support was necessary in order for KA.D.
to receive a FAPE, we attempted to avoid having this gap and went to great lengths to try to remedy
the situation prior to its occurence.

5. On January l l, 2008, through our attomey, we made a motion to request clarification
of Judge Lepkowski's decision, believing that this gap in FAPE had been an oversight or that her
intent had not been clear in the decision. On January 15, 2008 SBSD, through its counsel, filed
a response to our motion in opposition.

6. On January 25, 2008 Judge Lepkowski ruled that indeed, she had intended to give the
District 30 days to begin the provision of services required for KA.D. to receive FAPE, though she
did not indicate who was responsible for the provision of FAPE during this time, As a result, this
expense would either fall on our family, or KA.D. would have to go without the services she
needed to attend school after January 3lst, when our previous arrangements expired,

7. On January 28, 2008 our family made a last-ditch attempt to avoid these additional

expenses by writing, through our counsel, to the Califomia Department of Education, the
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DECLARAT|ON OF KY.D.

 

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Department of Developmental Services and the San Diego Regional Center in order to

request funding during this gap in services created by Judge Lepkowski's order and SBSD’s
decision not to provide them until the last possible moment before it was required, We received no
assistance from any of the agencies natned above,

8. On February 4, 2008 the District held an IEP at which it announced its intent to
replace KA.D.'s aide support through Coyne and Associates with its own staff. It did not, however,
invite any representatives from Coyne and Associates to give input on how this transition might
occur or to receive any input from them in regards to her present levels of performance, her
progress on current goals or to describe the motivational systems and behavior management
techniques which it had been successfully using with KA.D. in the classroom,

9. At this meeting l requested that the another IEP meeting be called so that Coyne and
Associates as her then-current service providers could participate in the development of the
transition plan and give input in the development of the lEP which would reflect the changes in
KA.D.s services Ms. Mary Ellen Nest, SBSD's Director of Special Education and Pupil Services
responded to this request verbally at the IEP meeting and later in a letter which stated that the
District would not pay for Coyne and Associates staff to attend an lEP meeting and that if I were to
invite them, it would be at our family’s expense.

10. Realizing that the District was not going to facilitate Coyne’s participation in the
transition, l consented to the proposed services two days later, on February 6, 2008. District staff
began overlap training at Hanna Fenichel on February 1 1, 2008. l received an invoice from Coyne
and Associates dated February 15, 2008 for 14 hours of aide support services from the beginning of
February. prior to the District beginning overlap services in the amount of 8700.00. l paid this
amount in full by check on February 28, 2008; l have attached the invoice reflecting this payment
with my declaration. While this amount may seem relatively small, it represented nearly half (46%)
of our family’s weekly take-home pay at that time, We were still under financial obligations to our
attorney and to Dr. Caroline Bailey for her Independent Education Evaluation (IEE); and while Dr.
Bailey had since agreed to significantly reduce her fee [to $12,000], these and other educationally

related expenses had emptied our savings account and forced us to use credit cards to pursue a due
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DECLARATION OF KY.D.

 

 

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process hearing to protect KA.D.'s rights to an appropriate education. At the time, this additional
expense was not only a hardship financially, but emotionally added insult to injury--having won a
decision which affirmed KA.D.'s right to be educated with appropriate supports in her general
education preschool, we were still having to pay out of pocket for it.

11. I declare under penalty of perjury under Califomia and federal law that the foregoing

is true and correct.

Dated: April 27, 2009 H?:'D* -
nhl

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DECLARATION OF KY.D.

 

 

CoynngsR§§Q§&§dtQ§G@a-M-M(h ment 29 Filed 04/27/09 Page|D.375 Page||QY/g‘i@b

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Tax lD#: XX-XXXXXXX Date l"" #
p_O_ BOX 231831 02/15/08 SCH0108KD
Encinitas, CA 92023
SERV|CE MONTH
BlLL TO: Feb-08
Kyla Doyle
Private Pay
704 Sonrisa
Solana Beach, CA 92075
DATE CL|ENT UC| SERVICE HOURS RATE AN|OUNT
02/01/08 Doy|e, Kathryn 6251440 SBSD Direct 1:1 lnstruction 3,50
02/04/08 Doy|e, Kathryn 6251440 SBSD Direct1;1 lnstruction 3.50
02/06/08 Doy|e, Kathryn 6251440 SBSD Direct 1?‘1 |nstruction 3.50
02/08/08 Doyle, Kathryn 6251440 SBSD Direct 111 instruction 3.50
Total 14.00 $ 50.00 $ 700.00

 

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Caroline 95. (Bai[ey, Q’E.CD.
Educatzbna[Consu[tant

1132 121h Street #9
Sanfa Monica, CA 90403
323-972-1559

 

K.D. lndependent Educational Evaluation

Service Rendered Date(s) of Service Hour!y Fee Hours Total Fee
Child Observation September 28, 2007 $300.00 15 $4500.00

October 1, 2007
November 18, 2007

Review of Records $300.00 25 $7500.00
Resea.rch $300.00 10 $3000.00
Written Report October l 1, 2007 $300.00 20 $6000.00
Written Report pending $300.00 10 $3000.00
IEP pending $300.00 3 (est) $ 900.00
Client Communication -- 15 ---

Travel Time -- 8 ---

'l`otal Fee:

$24,900.00

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CERTIFlCATE OF SERVICE
STATE OF CALIFORNIA, COUNTY OF ORANGE

l am employed in the County of Orange, State of Califomia. I am over the age
of 18 years and not a party to the within action; my business address is 34 Schubert Court,
Irvine, California, 92617.

On 4/27/09, I served the foregoing documents described as Plaintiff`s’ Request
that Administrative Decision be in Part Sustained and in Part Reversed & Exhibits
Thereto; Certif`icate of Serviee on the interested parties in this action [X] by placing [ ] the
original [ ] a true copy thereof enclosed in a sealed envelope addressed as stated below:

l | BY MAIL

[ ] I deposited such envelopes in the mail at Irvine, California,

[X] I am “readily familiar” with the firm’s practice of collection and processing
correspondence for mailing. It is deposited with U.S. postal service on that same day in the
ordinary course of business I am aware that, on motion of the party served, service is
presumed invalid if postal cancellation date or postage meter date is more than one day after
date of deposit for mailing in affidavit.

[X] BY CM/CEF ONLY

[ l 1 faxed on this date the above document to the parties listed below:

[X] (State) I declare under penalty of perjury under the laws of the State of Califomia
that the above is true and correct.

[X| (Federal) I declare that I am employed in the office of a member of the bar of this
court at whose direction the service was made.

Executed on 4/27/09 at Irvine, Califomia.

S/MAUREEN GRAVES
MAUREEN GRAVES, ESQ.

